     Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 1 of 77




                   UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW HAMPSHIRE

                                       )
CITY OF ROCHESTER, NEW HAMPSHIRE )         CIVIL ACTION NO:
                                       )
                            Plaintiff, )
                                       )
                                       )
                                       )             COMPLAINT
                                       )
                                       )
                                       )
                                       )
                                       )
v.                                     )       JURY TRIAL DEMANDED
                                       )
MCKINSEY AND COMPANY, INC.,            )
                                       )
                          Defendant. )




                                   i
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 2 of 77




                                                    TABLE OF CONTENTS



TABLE OF CONTENTS ................................................................................................................ ii

I.           Introduction ..................................................................................................................... 1

II.          Parties .............................................................................................................................. 7

     A.      Plaintiff ............................................................................................................................ 7

III.         Jurisdiction and Venue .................................................................................................... 8

IV.          Factual Allegations Common to All Claims.................................................................... 9

     A.      Purdue Pleads Guilty to Misbranding OxyContin and Is Bound by a Corporate Integrity
             Agreement ....................................................................................................................... 9

     B.      Purdue Hires McKinsey to Boost Opioid Sales in Light of the Company’s Guilty Plea
             and Corporate Integrity Agreement ............................................................................... 11

             1. The Sacklers Distance Themselves from Purdue ...................................................... 11

             2. Purdue Hires McKinsey to Devise and Implement an OxyContin Sales Strategy
                    Consistent with the Sacklers’ Goals .................................................................. 13

     C.      What McKinsey Does: “Consulting Is More than Giving Advice” .............................. 15

             1. The Transformational Relationship ........................................................................... 17

     E.      McKinsey Delivers ........................................................................................................ 19

             1. Granular Growth ...................................................................................................... 19

             2. “Identifying Granular Growth Opportunities for OxyContin” .................................. 21

     F.      Transformation: Purdue Implements McKinsey’s Strategies ........................................ 29

             1. Project Turbocharge .................................................................................................. 30

     G.      McKinsey’s Efforts Triple OxyContin Sales................................................................. 33

     H.      McKinsey Was Aware of the Devasting Effects of Opioids and Continued to Provide
             Marketing Advice. ......................................................................................................... 35

     I.      McKinsey Continued Consulting to Increase the Sale of Opioids Despite the
             Nationwide Epidemic. .................................................................................................... 40



                                                                        ii
         Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 3 of 77




        1. Purdue Pleads Guilty Once Again ............................................................................. 43

        2. A Mea Culpa ............................................................................................................. 44

  J.    The Impact of McKinsey’s and Purdue’s Conduct........................................................ 45

V.      Factual Allegations Pertaining to Claims Under the Racketeer-Influenced and
        Corrupt Orginizations (RICO) Act: The Opioid Marketing Enterprise ........................ 47

  A.    The Common Purpose and Scheme of the Opioid Marketing Enterprise ..................... 47

  B.    The Conduct of the Opioid Marketing Enterprise Violated Civil RICO ....................... 49

  C.    Pattern of Racketeering Activity ................................................................................... 50

VI.     Tolling of Statutes of Limitations.................................................................................. 54

  A.    Equitable Estoppel and Fraudulent Concealment .......................................................... 54

  B.    McKinsey and Purdue Persisted in The Fraudulent Scheme Despite a Guilty Plea and
        Large Fine ...................................................................................................................... 55

VII.    Causes of Action ............................................................................................................ 57

VIII.   Prayer for Relief ............................................................................................................ 71

IX.     Jury Demand .................................................................................................................. 72




                                                                 iii
            Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 4 of 77




                                        I.      INTRODUCTION

       1.      This case arises from the worst man-made epidemic in modern medical history— the misuse,

abuse, and over-prescription of opioids. This crisis arose from the opioid manufacturers’ deliberately

deceptive marketing strategy to expand opioid use.

       2.      McKinsey and Company, Inc. (“McKinsey” or “Defendant”) played an integral role in

creating and deepening the opioid crisis.

       3.      In the years following Purdue Pharma L.P.’s (“Purdue”) 2007 guilty plea for misleadingly

marketing OxyContin, McKinsey worked closely with Purdue to dramatically increase OxyContin sales to

the benefit of McKinsey, Purdue, and the Sackler family, the wealthy family that has owned and controlled

Purdue for decades. McKinsey specifically sought to maximize OxyContin sales by working around the

requirements of the Corporate Integrity Agreement that Purdue entered as part of its guilty plea. McKinsey

also performed related work for other manufacturers of opioids, including Johnson & Johnson. Through the

conduct described in this complaint, McKinsey participated in and helped orchestrate a broad scheme to

deceptively market opioids.

       4.      McKinsey knew of the dangers of opioids and of Purdue's prior misconduct, but nonetheless

advised Purdue to improperly market and sell OxyContin, supplying granular sales and marketing strategies

and remaining intimately involved throughout implementation of those strategies. McKinsey's actions

resulted in a surge in sales of OxyContin and other opioids that fueled and prolonged the opioid crisis.

       5.      On May 10, 2007, John Brownlee (“Brownlee”), United States Attorney for the Western

District of Virginia, announced the guilty plea of the Purdue Frederick Company, the parent of Purdue

Pharma, L.P., relating to the misbranding of OxyContin. Brownlee stated,




                                                     1
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 5 of 77




            Even in the face of warnings from health care professionals, the media, and
            members of its own sales force that OxyContin was being widely abused and
            causing harm to our citizens, Purdue, under the leadership of its top executives,
            continued to push a fraudulent marketing campaign that promoted OxyContin as
            less addictive, less subject to abuse, and less likely to cause withdrawal. In the
            process, scores died as a result of OxyContin abuse and an even greater number of
            people became addicted to OxyContin; a drug that Purdue led many to believe was
            safer, less subject to abuse, and less addictive than other pain medications on the
            market.

       6.        Along with the guilty plea, Purdue agreed to a Corporate Integrity Agreement with the Office

of Inspector General of the U.S. Department of Health and Human Services (“HHS”). For a period of five

years, ending in 2012, Purdue was obligated to retain an Independent Monitor and submit annual compliance

reports regarding its marketing and sales practices and training of sales representatives vis-à-vis their

interactions with health care providers.

       7.        In the wake of Purdue’s accession to the Corporate Integrity Agreement, Purdue faced newly

imposed constraints on its sales and marketing practices. The Corporate Integrity Agreement was a problem

to solve. Despite the agreement’s constraints (i.e., do not lie about OxyContin), Purdue and its controlling

owners, the Sackler family, still intended to maximize OxyContin sales.

       8.        The problem was complex. As a result of the 2007 guilty plea, the Sacklers made the strategic

decision to distance the family from Purdue, which was regarded as an increasingly dangerous

“concentration of risk” for Purdue’s owners. Ten days after the guilty plea was announced, David Sackler

wrote to his dad, Richard Sackler, and uncle, Jonathan Sackler, describing precisely what that “risk” was:

legal liability for selling OxyContin. In response to Jonathan stating that “there is no basis to sue ‘the

family,’” David replied:




                                                       2
             Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 6 of 77




       9.      Given concern over this “concentration of risk,” the two sides of the Sackler family spent

considerable time and energy debating the best way to achieve distance from Purdue, and collectively

considered a variety of options for doing so. One option was to sell the company to or merge the company

with another pharmaceutical manufacturer. Shire was discussed as a possible target, as was Cephalon, Inc.,

UCB S.A., and Sepracor Inc. The proceeds of such a transaction could then be re-invested in diversified

assets, thereby achieving the Sacklers’ desired distance.

       10.     Another option was to have Purdue borrow money in order to assure Purdue had adequate

funds to continue operating while the Sacklers, as owners, began to make substantial distributions of money

from the company to themselves. Once again, the proceeds of the distributions could then be re-invested in

diversified assets, thereby achieving the Sacklers’ desired distance.

       11.     In order to pursue either of these options, the Sacklers needed to maximize opioid sales in

the short term so as to make Purdue – by then the subject of substantial public scrutiny – appear either as an

attractive acquisition target or merger partner to another pharmaceutical manufacturer or as a creditworthy

borrower to a lender.

       12.     In short, the Sacklers planned to engage in a final flurry of opioid pushing in order to rid

themselves of their pharmaceutical company dependency for good.




                                                       3
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 7 of 77




        13.      Given the complexity of the problem, the Sacklers and Purdue realized that they would need

assistance in achieving these internally contradictory objectives. Purdue did not have the capabilities in-

house to design and implement a sales strategy for OxyContin that would achieve the Sacklers’ objectives.

They turned to the global management consulting firm McKinsey, which had already been advising the

Sacklers and Purdue for at least three years, for help with their new problem.

        14.      McKinsey accepted their request,1 and by June 2009 McKinsey and Purdue were working

together to increase sales of Purdue’s opioids. McKinsey suggested a specific sales and marketing strategy

based on McKinsey’s own independent research and unique methodologies, and Purdue adopted that

strategy. McKinsey and Purdue then implemented McKinsey’s plan. Despite the strictures imposed upon

Purdue by the Corporate Integrity Agreement, OxyContin sales began to multiply.

        15.      In 2012, OxyContin. Purdue’s Corporate Integrity Agreement ended. With its demise,

McKinsey’s ongoing relationship2 with Purdue flourished. In 2013, McKinsey proposed, and Purdue

implemented with McKinsey’s ongoing assistance, Project Turbocharge, a marketing to McKinsey’s

strategy for selling OxyContin.




1
  This Complaint assumes that Purdue asked McKinsey to design and implement the strategy for boosting opioid sales, and
McKinsey accepted Purdue’s offer. What is known is that McKinsey performed the work for Purdue. For the purposes of this
Complaint, Plaintiff assume Purdue initiated the relationship with McKinsey. Should it arise that instead McKinsey pitched a
proposal to increase OxyContin sales to Purdue, and Purdue accepted that proposal, then Plaintiff will amend this Complaint
accordingly. This Complaint tells the story of McKinsey’s transformational relationship with Purdue.
2
  McKinsey espouses the idea of the “transformational relationship.” It is not a one-off seller of advice for any given
Chief Executive Officer (“CEO”) problem of the day. Rather, McKinsey argues that real value for the client derives
from an ongoing “transformational” relationship with the firm. Duff McDonald, The Firm 136 -37 (2013) (“McKinsey
no longer pitched itself as a project-to-project firm; from this point forth [the late 1970’s], it sold itself to clients as an
ongoing prodder of change, the kind a smart CEO would keep around indefinitely.”).
                                                              4
                Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 8 of 77




         16.       In 2013, despite significant headwinds, OxyContin sales finally peaked. The restrictions on

Purdue’s sales and marketing methods contained in the Corporate Integrity Agreement should have resulted

in fewer overall OxyContin sales: the guilty plea identified a specific segment of existing OxyContin sales

that were illegitimate and should thus cease. All else being equal, OxyContin sales should have decreased to

account for the successful snuffing out of improper sales. In fact, OxyContin sales did decrease in the

immediate aftermath of the 2007 guilty plea.

         17.       Within five years, however, OxyContin sales would triple. McKinsey is responsible for the

strategy that accomplished this. It presented specific plans to Purdue, which Purdue adopted and spent

hundreds of millions of dollars implementing. The result: a final spasm of OxyContin sales before the

inevitable decline of the drug.3

         18.       McKinsey has recently been the subject of scrutiny for its various business practices,

including its work facilitating the opioid crisis for Purdue.4 On March 7, 2019, Kevin Sneader (“Sneader”),

McKinsey’s global managing partner, addressed all McKinsey employees regarding this scrutiny. Drawing

inspiration from Theodore Roosevelt, Sneader stated, “[W]e cannot return See matters.”5

         19.       Weeks later, McKinsey announced that it is no longer working for any opioid manufacturer.

“Opioid abuse and addiction are having a tragic and devastating impact on our communities. We are no

longer advising clients on any opioid-specific business and are continuing to support key stakeholders




3
  On February 10, 2018, Purdue announced that it is no longer marketing opioids and disbanded its OxyContin sales force.
4
  See Michael Forsythe and Walt Bogdanich, McKinsey Advised Purdue Pharma How to Turbocharge’ Opioid Sales, Lawsuit
Says, New York Times, (Feb. 1, 2019),
https://www.nytimes.com2019/02/01/business/purdue-pharma-mckinsey-oxycontin-opioids.html.
5
  See “The Price We Pay for Being ‘In the Arena’”: McKinsey’s Chief Writes to Staff About Media Scrutiny and Scandal,
FORTUNE MAGAZINE (Mar. 8, 2019), https://fortune.com/2019/03/08/mckinsey-staff-letter-kevin-sneader/. The “arena”
reference is to Citizenship in a Republic, a speech delivered by Theodore Roosevelt on April 23, 1910: “It is not the critic who
counts; not the man who points out how the strong man stumbles, or where the doers of deeds could have done them better. The
credit belongs to the man who is actually in the arena [here, McKinsey; and the arena, opioid sales], whose face is marred by dust
and sweat and blood; who strives valiantly; who errs, who comes short again and again, because there is no effort without error
and shortcoming; but who does actually strive to do the deeds; who knows great enthusiasms, the great devotions; who spends
himself in a worthy cause; who at the best knows in the end the triumph of high achievement, and who at the worst, if he fails, at
least fails while daring greatly, so that his place shall never be with those cold and timid souls who neither know victory nor defeat.”
                                                                   5
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 9 of 77




working to combat the crisis,” McKinsey stated.6 In addition to its work for Purdue, McKinsey has

performed work for “several other companies on opioids.”7

         20.     Plaintiff now argues that the price for being in the arena is more than scrutiny, however fair.

This lawsuit argues that, like any other participant in the arena, McKinsey is liable for its deeds. McKinsey

is liable for its successful efforts to increase OxyContin sales after Purdue’s 2007 guilty plea for

misbranding the drug. Indeed, McKinsey’s mandate was to increase the sales of the drug in light of the fact

that Purdue had plead guilty to misbranding, and the owners of Purdue now wished to exit the opioid market

due to the perceived reputational risks of remaining there.

         21.     McKinsey’s task was to thread the needle: to increase OxyContin sales given the strictures

imposed by the 5-year Corporate Integrity Agreement. This McKinsey did, turbocharging8 the sales of a

drug it knew fully well was addictive and deadly, while paying at least tacit respect to the Corporate Integrity

Agreement.

         22.     These managerial acrobatics were necessary for Purdue to seem financially attractive enough

that a potential buyer would be willing to discount (or even overlook) the otherwise obvious risks associated

with purchasing the maker of OxyContin. Purdue was the proverbial hot potato. The Sackler family hired

McKinsey to help them hand it to someone else. McKinsey obliged, and devised a successful strategy to

purposefully increase the amount of OxyContin sold in the United States. Their efforts tripled OxyContin

sales.




6
  See Paul La Monica, Consulting firm McKinsey no longer working with opioid maker Purdue Pharma, CNN BUS.
(May 24, 2019), https://www.cnn.com/2019/05/24/business/mckinsey- purdue-pharma-oxycontin/index.html. The
statement was attributed to McKinsey as an entity. No individual’s name was attributed.
7
  See Drew Armstrong, McKinsey No Longer Consulting for Purdue, Ends Opioid Work, BLOOMBERG (May 23,
2019),https://www.bloomberg.com/news/articles/2019-05-24/mckinsey-no-longer-working-with-purdue-halts-opioid-
consulting. While Plaintiff are aware of work McKinsey has performed for other opioid manufacturers, this Complaint
concerns McKinsey’s work with Purdue.
8
  If the description is overbearing, note that it is McKinsey’s own, as described below.

                                                             6
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 10 of 77




        23.     In the end, of course, the Sacklers never sold Purdue, and no one loaned it money. In time,

the full scope of the opioid crisis would be clear not only to experts, insiders, and industry participants. Along

with the rest of nation, Plaintiff is now squarely focused on the crisis.

        24.     As reported in the media, in a series of agreements, McKinsey recently settled opioid-related

claims with 49 states, the District of Columbia, and five U.S. territories.

        25.     Because of Defendant’s misconduct, Plaintiff is experiencing a severe public health crisis

and have suffered significant economic damages, including but not limited to increased costs related to

public health, opioid-related crimes and emergencies, criminal justice and public safety. Plaintiff has

incurred substantial costs in responding to the crisis and will continue to do so in the future. As described

in more detail below, these increased costs directly impact nearly every one Plaintiff departments and

amount of tens of millions of dollars by even the most conservative estimates.

                                               II.     PARTIES
    A. Plaintiff
        26.     Plaintiff City of Rochester, New Hampshire (“Plaintiff” or “Rochester”) is authorized to

bring the causes of action brought herein.

        27.     Plaintiff is responsible for the public health, safety, and welfare of its citizens.

        28.     The marketing, distribution and diversion of opioids into Rochester, created the foreseeable

opioid crisis and opioid public nuisance for which Plaintiff here seek relief.

        29.     Plaintiff directly and foreseeably sustained all economic damages alleged herein.

        30.     Defendant’s conduct has exacted a financial burden for which Plaintiff seek relief. Categories

of past and continuing sustained damages include, inter alia: (1) costs for providing medical care, additional

therapeutic and prescription drug purchases, and other treatments for patients suffering from opioid-related

addiction or disease, including overdoses and deaths; (2) costs for providing treatment, counseling, and

rehabilitation services; (3) costs for providing treatment of infants born with opioid-related medical

conditions; (4) costs associated with law enforcement and public safety relating to the opioid epidemic; and

                                                        7
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 11 of 77




(5) costs associated with providing care for children whose parents suffer from opioid-related disability or

incapacitation. The Plaintiff have suffered and continue to suffer these damages directly.

         31.     Plaintiff also seek the means to abate the epidemic Defendant’s wrongful and/or unlawful

conduct has created.

         32.     Plaintiff has standing to seek relief as a “person” under New Hampshire law.

         33.     Plaintiff has standing to recover damages incurred as a result of Defendant’s actions and

omissions. Plaintiff has standing to bring all claims pled herein, including, inter alia, to bring claims under

the federal RICO statute, pursuant to 18 U.S.C. § 1961(3) (“persons” include entities which can hold legal

title to property) and 18 U.S.C. § 1964 (“persons” have standing).

B. Defendant

         34.     Defendant McKinsey and Company, Inc. is a corporation organized under the laws of the

state of New York. McKinsey’s principal place of business is located at 711 Third Avenue, New York, NY

10017.

         35.     McKinsey is a worldwide management consultant company. From approximately 2004-

2019, McKinsey provided consulting services to Purdue Pharma L.P., working to maximize sales of

OxyContin and knowingly perpetuating the opioid crisis. McKinsey has provided related consulting services

to other manufacturers of opioids.

                                   III.    JURISDICTION AND VENUE

         36.     This Court has subject matter jurisdiction over this action because the Plaintiff bring a federal

cause of action that raises a federal question pursuant to 28 U.S.C. § 1331 based upon the federal claims

asserted under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961, et seq. (“RICO”).

This Court has supplemental jurisdiction over Plaintiff state law claims pursuant to 28 U.S.C. § 1367 because

those claims are so related to Plaintiff federal claims that they form part of the same case or controversy.

         37.     This Court also has jurisdiction over this action in accordance with 28 U.S.C. § 1332(a)


                                                         8
             Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 12 of 77




because the Plaintiff is a “citizen” of this State, Defendant is a citizen of a different state and the amount in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

       38.     This Court has personal jurisdiction over McKinsey because at all relevant times, McKinsey

purposely availed itself of the privilege of doing business in the State and in this District, including by

engaging in the business of researching, designing, and implementing marketing and promoting strategies

for various opioid manufacturers, including Purdue, that were intended to be, and were, implemented in, or

whose implementation had a substantive and intended effect in this State and District, among other places.

McKinsey purposefully directed its activities at the State, and the claims arise out of those activities.

       39.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and 18 U.S.C. § 1965 because

a substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in, were directed to,

and/or emanated from this District.

                  IV.     FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

       40.     This lawsuit concerns McKinsey’s work for Purdue Pharma and its owner, the Sackler

family, in the years after the 2007 investigation and subsequent guilty plea relating to Purdue’s sales and

marketing strategy for its opioids.

       41.     McKinsey had an ongoing relationship with Purdue beginning as early as 2003 and lasting

decades. By June 2009 McKinsey was advising Purdue on precisely the same sales and marketing strategy

and practices for OxyContin that were the subject of the Corporate Integrity Agreement. McKinsey

continued this work after the expiration of the Corporate Integrity Agreement and at least through November

of 2017.

   A. Purdue Pleads Guilty to Misbranding OxyContin and Is Bound by a Corporate Integrity
       Agreement

       42.     On May 10, 2007, the Purdue Frederick Company, Purdue’s parent, as well as three of

Purdue’s officers, pleaded guilty to the misbranding of OxyContin pursuant to various provisions of the

Federal Food, Drug and Cosmetic Act, 21 U.S.C. § 301, et seq.
                                                       9
             Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 13 of 77




       43.     Purdue admitted that “supervisors and employees, with the intent to defraud or mislead,

marketed and promoted OxyContin as less addictive, less subject to abuse and diversion, and less likely to

cause tolerance and withdrawal than other pain medications.”

       44.     Concurrent with the guilty plea by the Purdue Frederick Company, Purdue entered into a

Corporate Integrity Agreement with the Office of Inspector General of HHS on May 7, 2007.

       45.     Purdue’s compliance obligations under the Corporate Integrity Agreement ran for a period

of five years, expiring on May 10, 2012.

       46.     Pursuant to the Corporate Integrity Agreement, Purdue was obligated to implement written

policies regarding its compliance program and compliance with federal health care program and Food and

Drug Administration requirements, including:

         “Selling, marketing, promoting, advertising, and disseminating Materials or
         information about Purdue’s products in compliance with all applicable FDA
         requirements, including requirements relating to the dissemination of information
         that is fair and accurate … including, but not limited to information concerning the
         withdrawal, drug tolerance, drug addiction or drug abuse of Purdue’s products;

         compensation (including salaries and bonuses) for Relevant Covered Persons
         engaged in promoting and selling Purdue’s products that are designed to ensure that
         financial incentives do not inappropriately motivate such individuals to engage in
         the improper promotion or sales of Purdue’s products;

         the process by which and standards according to which Purdue sales representatives
         provide Materials or respond to requests from HCP’s [health care providers] for
         information about Purdue’s products, including information concerning
         withdrawal, drug tolerance, drug addiction, or drug abuse of Purdue’s products,”
         including “the form and content of Materials disseminated by sales
         representatives,” and “the internal review process for the Materials and information
         disseminated by sales representatives.”

       47.     Purdue was obligated to engage an Independent Review Organization to ensure its

compliance with the strictures of the Corporate Integrity Agreement, and to file compliance reports on an

annual basis with the inspector general.




                                                    10
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 14 of 77




    B. Purdue Hires McKinsey to Boost Opioid Sales in Light of the Company’s Guilty Plea and
        Corporate Integrity Agreement

        48.      The Sackler family has owned and controlled Purdue and its predecessors since 1952. At all

times relevant to this Complaint, individual Sackler family members occupied either six or seven of the

seats on Purdue’s board of directors, and at all times held a majority of board seats. To advise the board of

directors of Purdue was to advise the Sackler family. The interests of the Sackler family and the Purdue

board of directors, and Purdue itself, as a privately held company, are all aligned. Practically, they are

indistinguishable.9

                 1. The Sacklers Distance Themselves from Purdue

        49.      After the 2007 guilty plea, the Sackler family began to reassess its involvement in the opioid

business. On April 18, 2008, Richard Sackler, then the co-chairman of the board of directors along with his

uncle, communicated to other family members that Purdue’s business of selling OxyContin and other

opioids was “a dangerous concentration of risk.” Richard Sackler recommended a strategy of installing a

loyal CEO of Purdue who would safeguard the interests of the Sackler family, while at the same time

positioning Purdue for an eventual sale by maximizing OxyContin sales.

        50.      In the event that a purchaser for Purdue could not be found, Richard stated Purdue should

“distribute more free cash flow” to the Sacklers. This would have the effect of maximizing the amount of

money an owner could take out of a business, and is a tacit acknowledgement that reinvestment of profits

in the business was not a sound financial strategy. It is, in other words, an acknowledgement that Purdue’s

reputation and franchise was irrevocably damaged, and that Purdue’s opioid business was not sustainable

in the long term.

        51.      By 2017, with the hope for any acquisition now gone, the Sacklers’ decision to milk opioid


9
 Craig Landau (“Landau”), soon to become CEO of Purdue, acknowledged in May 2017 that Purdue operated with “the
Board of Directors serving as the ‘de facto’ CEO.” The future CEO of the company, in other words, understood that he
would have little practical power despite his new title. The owners ran the business.


                                                            11
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 15 of 77




profits by “distributing more free cash flow” on the way down had its natural effect on Purdue. Landau, then

the CEO, stated, “the planned and purposeful de-emphasis and deconstruction of R&D has left the

organization unable to innovate.”

        52.      In fact, in the years after the 2007 guilty plea, Purdue would retain only the absolute minimum

amount of money within Purdue as possible: $300 million. That amount was required to be retained by

Purdue pursuant to a partnership agreement with a separate company. Otherwise, all the money was

distributed to the owners.10

        53.      Concurrently, the Sacklers backed away from day-to-day jobs at Purdue. During the ongoing

investigation that resulted in the 2007 guilty pleas, “several family members who worked at Purdue stepped

back from their operational roles.”11 In 2003, Richard Sackler himself resigned as the president to assume

his role of co-chairman. Dr. Kathe Sackler and Jonathan Sackler chose to exit their roles as senior vice

presidents. Mortimer D.A. Sackler quit being a vice president.

        54.      They remained on the board of directors, however.

        55.      At the time Richard Sackler communicated these plans to distance the family from Purdue,

the Sacklers had already established a second company, Rhodes Pharmaceuticals L.P. (“Rhodes”). The

Sacklers established Rhodes four months after the 2007 guilty plea. 12 Rhodes’ purpose was to sell generic

versions of opioids. It was, in other words, a way for the Sacklers to continue to make money off of opioids

while separating themselves from Purdue. By 2016, Rhodes held a larger share of the opioid market than

Purdue. Through Purdue, the Sacklers controlled 1.7% of the overall opioid market. When combined with

Rhodes, however, the Sacklers’ share of the overall opioid market was approximately 6% of all opioids sold




10
   See Jared S. Hopkins, At Purdue Pharma, Business Slumps as Opioid Lawsuits Mount, WALL ST. J. (June 30,
2019), https://www.wsj.com/articles/purdue-pharma-grapples-with-internal-challenges-as-opioid-lawsuits-mount-
11561887120?mod=hp_lead_pos6.
11
   Barry Meier, Pain Killer 167 (2018).
12
   Billionaire   Sackler    family   owns   second     opioid   maker,    FIN.     TIMES      (Sept.   9,   2018),
https://www.ft.com/content/2d21cf1a-b2bc-11e8-99ca-68cf89602132.
                                                           12
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 16 of 77




in the United States.13

                  2. Purdue Hires McKinsey to Devise and Implement an OxyContin Sales Strategy
                  Consistent with the Sacklers’ Goals

         56.      The Sacklers faced a problem: the need to grow OxyContin sales as dramatically as possible

so as to make Purdue an attractive acquisition target or borrower, while at the same time appearing 14 to

comply with the Corporate Integrity Agreement.

         57.      Purdue and the Sacklers were well aware of the constraints posed by the Agreement. Indeed,

during a May 20, 2009 Executive Committee Meeting, the discussion led to whether Purdue should have a

single sales force marketing all Purdue products, including OxyContin, or instead to “create a separate Sales

Force for Intermezzo (a sleeping pill) that would be comprised of approximately 300 representatives.” John

Stewart (“Stewart”), the Sacklers’ chosen CEO for Purdue at the time, saw an opportunity, and asked if the

Corporate Integrity Agreement would apply if Purdue were to launch Intermezzo and another Purdue

product, Ryzolt (a branded version of Tramadol, another narcotic painkiller), using the separate sales force.

Might the new drug launch fall outside of the Corporate Integrity Agreement, he asked.15

         58.      It would not, he was told by Bert Weinstein, Purdue’s Vice President of Compliance.16

         59.      Given the tension between compliance with the Corporate Integrity Agreement and the desire

to sell more Oxycontin, Purdue needed help.

         60.      Ethan Rasiel, a former McKinsey consultant, has described the typical way McKinsey begins

working with a client: “An organization has a problem that they cannot solve with their internal resources.

That’s the most classic way that McKinsey is brought in.”17



13
   Id.
14
   As one Purdue executive stated of Purdue’s attitude toward the Corporate Integrity Agreement: “They did not listen to their
critics and insisted they had just a few isolated problems. After the settlement, they didn’t change – the way the sales force was
managed and incentivized, everything stayed the same.” David Crow, How Purdue’s ‘one-two’ punch fuelled the market for
opioids, FIN. TIMES (Sept. 9, 2018), https://www.ft.com/content/8e64ec9c-b133-11e8-8d14-6f049d06439c.
15
   Purdue Executive Committee Meeting Notes and Actions, at 2 (May 20, 2009).
16
   Id.
17
   How McKinsey Became One of the Most Powerful Companies in the World, YOUTUBE (June 6, 2019),
https://www.youtube.com/watch?v=BBmmMj_maII.
                                                                13
                Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 17 of 77




          61.     Such was the case with Purdue. Because it did not have the requisite expertise to address the

problems posed by the Corporate Integrity Agreement internally, Purdue hired McKinsey to devise a sales

and marketing strategy to increase opioid sales in light of the Corporate Integrity Agreement and growing

concern about the “concentration of risk” that Purdue’s business of selling opioids posed to its owners.

          62.     In short, Purdue would pay money to McKinsey in exchange for McKinsey telling the

company how to sell as much OxyContin as conceivably possible so that the Sacklers could obtain cash to

diversify their investment holdings away from Purdue.

          63.     Purdue’s Executive Committee discussed CEO Stewart’s concerns regarding the constraints

posed by the Corporate Integrity Agreement on May 20, 2009. Within weeks, McKinsey was working with

Purdue to devise and implement new marketing strategies for OxyContin.

          64.     Consistent with their plan to dissociate themselves from the company, the Sacklers appointed

Stewart as the CEO of Purdue in 2007. The Sacklers viewed Stewart as someone loyal to the family. He had

previously worked for a division of Purdue in Canada. Stewart’s job was to assist the Sacklers with the

divestiture or eventual orderly wind-down of Purdue. Stewart was paid more than $25 million for his services

to Purdue from 2007 through 2013.

          65.     Stewart, as CEO, was in charge of the relationship with McKinsey. He controlled workflow

to and from McKinsey, and required his personal approval for any work orders with McKinsey.

          66.     In addition, Purdue’s Vice President of Corporate Compliance, “responsible for developing

and implementing policies, procedures, and practices designed to ensure compliance with the requirements

set forth in the [Corporate Integrity Agreement],” reported directly to Stewart.

          67.     Throughout their relationship, McKinsey routinely obtained information from, advised,

communicated with, and ultimately worked for the Purdue board of directors, controlled by the Sackler

family.




                                                       14
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 18 of 77




        68.     McKinsey would also work in granular detail with the Purdue sales and marketing staff, led

during the relevant period by Russell Gasdia (“Gasdia”), Vice President of Sales and Marketing.

        69.     From as early as June 2009 and continuing at least through July 14, 2014, Purdue routinely

relied upon McKinsey to orchestrate their sales and marketing strategy for OxyContin. The relationship was

characterized by ongoing interactions between teams from McKinsey and Purdue regarding not only the

creation of an OxyContin sales strategy, but also its implementation.

     C. What McKinsey Does: “Consulting Is More than Giving Advice”

        70.     Management consulting is the business of providing solutions to clients. Solutions take many

forms, depending on the client’s needs. “Management consulting includes a broad range of activities, and the

many firms and their members often define these practices quite differently.”18

        71.     Broadly speaking, there are two schools of management consulting. “Strategy” consulting

provides big-picture advice to clients about how they approach their business: how the business is structured,

which markets to compete in, potential new business lines, and mergers and acquisitions. The strategy

consultant would provide a plan to the client that the client may choose to adopt or not.

        72.     “Implementation” consulting is what comes next. If strategy consulting is providing advice to

a client, “implementation” work is what happens once the client has adopted the consultant’s plan. After a

client has adopted the strategy consultant’s recommendations, the implementation consultant remains in

place with the client to actually do the necessary work and execute on the plan.

        73.     In his 1982 Harvard Business Review article entitled “Consulting is More Than Giving

Advice,” Professor Arthur Turner of the Harvard Business School described the then- current state of the

consulting industry’s attitude toward implementation work: “The consultant’s proper role in implementation

is a matter of considerable debate in the profession. Some argue that one who helps put recommendations



18
  Arthur Turner, Consulting is More Than Giving Advice, HARV. BUS. REV. (Sept. 1982),
https://hbr.org/1982/09/consulting-is-more-than-giving-advice.

                                                         15
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 19 of 77




into effect takes on the role of manager and thus exceeds consulting’s legitimate bounds. Others believe that

those who regard implementation solely as the client’s responsibility lack a professional attitude, since

recommendations that are not implemented (or implemented badly) are a waste of money and time. And

just as the client may participate in diagnosis without diminishing the value of the consultant’s role, so there

are many ways in which the consultant may assist in implementation without usurping the manager’s job.”19

        74.     A core component of the McKinsey relationship is discretion. “The basis of any client

relationship with the firm is trust. Companies share their most competitive secrets with McKinsey with the

understanding that confidentiality is paramount. McKinsey consultants aren’t even supposed to tell their

own spouses about their client work.”20

        75.     Although McKinsey has historically been regarded as a “strategy” consulting firm, by the

time it was working with Purdue, implementation services were a core component of the overall suite of

services that McKinsey provided within the “transformational relationship” McKinsey developed with its

clients.21

        76.     Describing McKinsey’s approach to implementation, one McKinsey consultant stated, “On

some of the most successful engagements I’ve seen, you can’t even tell the difference between a McKinsey

team member and one of our clients because we’re working that cohesively together.”22

        77.     Another McKinsey Senior Implementation Coach described McKinsey’s approach: “We’re in

there interacting with every element of that organization, from the welders or mechanics on the front line, all

the way up to the board of directors.”23

        78.     In the broadest of generalities, then, McKinsey’s business model, as a provider of strategy



19
   Id.
20
   McDonald, The Firm, at 308.
21
    For McKinsey’s own description of its implementation services, see https://www.mckinsey. com/business-
functions/mckinsey-accelerate/how-we-help- clients/implementation (last visited Jan. 5, 2021).
22
     McKinsey on Implementation, YOUTUBE (Apr. 30, 2017), https://www.youtube.com/watch?
v=rEQOGVpl9CY.
23
   Id.
                                            16
                 Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 20 of 77




and implementation consulting services, is to partner with clients to pursue business objectives identified

by McKinsey. Once the objective is identified, the client and McKinsey then engage in concerted action as

a seamless and cohesive unit in order to implement the necessary means to achieve those objectives for the

client.

           79.     Indeed, long after McKinsey’s advice to Purdue was accepted and deployed as the theme of

Purdue’s 2014 national sales strategy, McKinsey remained with Purdue to assure proper implementation of

McKinsey’s strategies to maximize OxyContin sales.

         D. Purdue Relies on McKinsey

           80.     McKinsey is not hired to give casual advice. They are a corporate mandarin elite, likened to

the Marines or the Jesuits.24 United States Senator Mitt Romney, during his presidential campaign in 2012,

told the editorial board of The Wall Street Journal that as president he would approach reducing the size of

the government by hiring McKinsey. A former consultant himself, Romney stated, “So I would have … at

least some structure that McKinsey would guide me to put in place.” In response to audience surprise,

Romney said, “I’m not kidding. I would probably bring in McKinsey.”25

           81.     McKinsey is not cheap, either. A client does not choose to pay McKinsey unless it expects

to receive advice it could not have obtained within its own organization. McKinsey offers solutions to clients

facing challenges they feel they cannot adequately address on their own. In 2008, McKinsey’s revenue was

$6 billion.

                   1. The Transformational Relationship

           82.     McKinsey has long touted the notion of the “transformational relationship.” It is the goal of

every client relationship McKinsey develops, and, McKinsey argues, the best way to extract value from a

client’s use of McKinsey’s services.



24
  Said one former McKinsey partner to BusinessWeek in 1986: “There are only three great institutions left in
the world: The Marines, the Catholic Church, and McKinsey.” McDonald, The Firm, at 165.
25
     McDonald, The Firm, at 1.
                                                        17
                   Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 21 of 77




            83.      At its core, the “transformational relationship” is long-term. It is the antithesis of a one-off

contract wherein McKinsey performs one discreet project for a client and then concludes its business.

Rather, “once McKinsey is inside a client, its consultants are adept at artfully creating a feedback loop

through their work that purports to ease executive anxiety but actually creates more of it.”26 The long-term

result can be “dependence” on the McKinsey consultants.

            84.      This strategy of insinuating itself into all aspects of its clients’ business proved enormously

successful for McKinsey over the years. It was a strategy McKinsey encouraged its consultants to take with

clients to great effect:

               The sell worked: Once ensconced in the boardrooms of the biggest corporate
               players in the world, McKinsey rarely left, ensuring a steady and growing flow of
               billings for years if not decades. In 2002, for example, BusinessWeek noted that at
               that moment, the firm had served four hundred clients for fifteen years or more.27
            85.      Purdue was no different. McKinsey counted Purdue as a client at least as early as 2004. The

precise duration of the relationship between McKinsey and Purdue and its owners has not been ascertained,

although it is known that McKinsey worked with Purdue for years before Purdue’s parent and officers first

pleaded guilty to misbranding OxyContin in 2007, and that by June 2009 McKinsey was actively working

with Purdue to increase OxyContin sales in light of that guilty plea and its accompanying Corporate Integrity

Agreement. The work continued through at least 2018.

            86.      McKinsey partner Maria Gordian, in her March 26, 2009 “EY 2009 Impact Summary”

internal report to McKinsey Director Olivier Hamoir and McKinsey’s Personnel Committee, recounted her

accomplishments that year on the Purdue account. The document is an annual self-assessment produced by



26
   Id. at 6. Purdue provides a fine example of this feedback loop in action. In 2008, when McKinsey was advising Purdue regarding
Risk Evaluation and Mitigation Strategies (REMS) for OxyContin required by the FDA, McKinsey partner Maria Gordian wrote
to fellow partners Martin Elling (“Elling”) and Rob Rosiello (“Rosiello”) regarding progress in the “REMS work” as well as
“Broader Strategy work.” Regarding the latter, Gordian noted that Purdue board members Jonathan Sackler and Peter Boer
“basically ‘blessed’ [Landau] to do whatever he thinks is necessary to ‘save the business.’. . . I believe there is a good opportunity
to get another project here.” (emphasis added). Indeed, after the REMS work was completed, McKinsey continued to work on
“Broader Strategy work” for another decade.
27
     Id. at 136.
                                                                 18
             Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 22 of 77




McKinsey partners. In it, Gordian described the state of firm’s relationship for Purdue:

           With client work extending through the 3rd quarter, and several additional
           proposals in progress, we continue to expand the depth and breadth of our
           relationships at Purdue. We look forward to deepening our relationships with the
           Sackler family and serving them on key business development issues, and to
           expanding our relationship with [John] Stewart and other members of the senior
           management team.

       87.      McKinsey staffed at least 36 known consultants to Purdue, from senior partners all the way

down through engagement managers to entry-level associates. Throughout the unfolding of the nationwide

opioid crisis that only continued to worsen after the 2007 guilty plea, McKinsey remained steadfast alongside

the Sacklers and Purdue every step of the way. The mea culpas would come only later.

   E. McKinsey Delivers
       88.      By 2009, McKinsey was working with its long-time client to craft and implement a sales and

marketing plan to increase OxyContin sales in light of the Corporate Integrity Agreement and the

diminishing outlook for Purdue.

       89.      In June 2009, McKinsey advised Purdue senior management, including Landau, then the

Chief Medical Officer (“CMO”) and future CEO, regarding a variety of strategies to increase Purdue’s

opioid sales that were developed using McKinsey’s expertise and proprietary approaches to problem

solving.

                1. Granular Growth

       90.      McKinsey prides itself on certain managerial techniques it professes to have detailed

knowledge of and expertise in deploying. These techniques are generally applicable to problems

encountered by many businesses; they are conceptual frameworks that McKinsey deploys when tasked with

solving a problem for a client.

       91.      After the first guilty plea, the Sacklers desired dramatic, short-term growth of Purdue’s

opioid sales so as to increase the company’s attractiveness as an acquisition target or borrower while

allowing the Sacklers to take money out of the company. One service McKinsey offers to its clients is to
                                                     19
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 23 of 77




tell them how to grow.

        92.     In order to identify growth opportunities for a client, McKinsey espouses a “granular”

approach to identifying which subsets of the client’s existing business are the sources of growth and

exploiting them for all they are worth. In August 2008, McKinsey Directors Patrick Viguerie and Sven Smit,

together with Mehrdad Baghai, published a treatise on the matter: The Granularity of Growth: How to

Identify the Sources of Growth and Drive Enduring Company Performance (2008). “The key is to focus on

granularity, to breakdown big-picture strategy into its smallest relevant components.”28

        93.     Previously, in an article in the McKinsey Quarterly (coincidentally published the same month

that Purdue pled guilty), the authors explained:

          Our research on revenue growth of large companies suggest that executives should
          ‘de-average’ their view of markets and develop a granular perspective on trends,
          future growth rates, and market structures. Insights into subindustries, segments,
          categories, and micromarkets are the building blocks of portfolio choice.
          Companies will find this approach to growth indispensable in making the right
          decisions about where to compete.29
        94.     Additionally, McKinsey encouraged a granular assessment of the geography of corporate

growth. “The story gets more precise as we disaggregate the company’s performance on the three growth

drivers in 12 product categories for five geographic regions.”30

        95.     One can imagine this strategy applied to a seller of, say, cartons of milk. If McKinsey were

to perform an analysis of the milk seller’s sales and marketing and discovers that the profit margin on milk

cartons sold to university cafeterias in dairy-producing states is much greater than the margin on cartons

sold at convenience stores in the southwest, and further that the milk seller has previously devoted equal

amounts of time and resources selling to both university cafeterias and convenience stores; then McKinsey

would likely advise the client to deploy additional resources towards selling milk to university cafeterias in


28
   The granularity of growth, Book Excerpt, McKinsey & Co. (Mar. 1, 2008), https://www.mckinsey.com/business-
functions/strategy-and-corporate-finance/our-insights/the- granularity-of-growth.
29
   Mehrdad Baghai et al., The granularity of growth, MCKINSEY Q. (May 1,2007), https://www.mckinsey.com/featured-
insights/employment-and-growth/the-granularity-of- growth.
30
   Id.
                                                         20
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 24 of 77




dairy-producing states. McKinsey’s “granular” approach to the milk seller’s business channels has identified

a way to increase higher margin sales, leading to newfound growth for the client.

       96.      Rather than milk, McKinsey deployed this strategy on OxyContin, a controlled substance,

after its manufacturer pled guilty to misrepresenting the addictive and deadly properties of the drug.

                2. “Identifying Granular Growth Opportunities for OxyContin”

       97.      McKinsey’s granular analysis of Purdue’s OxyContin sales efforts led to the implementation

of a number of strategies to sell more pills.

       98.      By January 2010, McKinsey informed Purdue that, in accordance with the tenants of its

granular growth analysis, Purdue could generate “$200,000,000 to $400,000,000” in additional annual sales

of OxyContin by implementing McKinsey’s strategies.

       99.      In June of 2012, Stewart assigned McKinsey to “understand the significance of each of the

major factors affecting OxyContin’s sales.”

       100.     This McKinsey did in excruciatingly granular detail, analyzing each sales channel for

Purdue’s opioids for weaknesses and opportunities. For instance, McKinsey informed the Sacklers that

“deep examination of Purdue’s available marketing purchasing data shows that Walgreens has reduced its

units by 18%.” Further, “the Walgreens data also shows significant impact on higher OxyContin doses.” In

order to counter these perceived problems, McKinsey suggested that Purdue’s owners lobby Walgreens

specifically to increase sales. It also suggested the establishment of a direct-mail specialty pharmacy so that

Purdue could circumvent Walgreens and sell directly to Walgreens’ customers. In addition, McKinsey

suggested the use of opioid savings cards distributed in neighborhoods with Walgreens locations to

encourage the use of Purdue’s opioids despite Walgreens’ actions.

       101.     The themes of McKinsey’s work would be crystallized in a series of presentations and

updates made to the Sackler family and Purdue’s board of directors in the summer of 2013 entitled

“Identifying Granular Growth Opportunities for OxyContin.”

                                                      21
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 25 of 77




                          a. Marketing – Countering Emotional Messages

        102.     From the outset of McKinsey’s known work for Purdue, the work was grim. In June of 2009,

McKinsey teamed with Purdue’s CMO (and current CEO) Landau and his staff to discuss how best to

“counter emotional messages from mothers with teenagers that overdosed in [sic] OxyContin.”

        103.     Months later, McKinsey advised Purdue to market OxyContin based on the false and

misleading notion that the drug can provide “freedom” and “peace of mind” for its users, and concomitantly

reduce stress and isolation.

        104.     These marketing claims were tailored to avoid any pitfalls that the Corporate Integrity

Agreement might hold. While nonetheless false and misleading, these claims regarding “freedom” and

“peace of mind” of OxyContin users were narrowly tailored in order to avoid representations regarding “the

withdrawal, drug tolerance, drug addiction or drug abuse of Purdue’s products,” as specified in Section

III.B.2.c of the Corporate Integrity Agreement.

        105.     Purdue’s marketing materials from that time period are illustrative of the approach: 31




  31
    State of Tenn. v. Purdue Pharma L.P., No. 1-173-18, Complaint at ¶24 (Tenn. Cir. Ct. May 15, 2018).

                                                            22
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 26 of 77




       106.     In addition, McKinsey suggested the tactic of “patient pushback,” wherein McKinsey and

Purdue would foment patients to directly lobby their doctors for OxyContin when those physicians

expressed reservations regarding the administration of Purdue’s opioids.

                       b. Targeting – Selling More OxyContin to Existing High Prescribers

       107.     Perhaps the key insight McKinsey provided was, using its granular approach, to identify

historically large prescribers and target ever more sales and marketing resources on them.

       108.     On January 20, 2010, Purdue’s board of directors was informed of the ongoing work

McKinsey was performing concerning a new “physician segmentation” initiative whereby McKinsey would

analyze the opioid prescribing patterns of individual physicians to identify those that had historically been

the highest prescribers. McKinsey then worked with Purdue’s sales and marketing staff to specifically target

those prescribers with a marketing blitz to encourage even further prescribing.

       109.     Purdue trained its sales force in tactics to market to these high prescribers based on

McKinsey’s insights and designed in conjunction with McKinsey.
                                                     23
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 27 of 77




       110.     Many of the historically highest prescribers of OxyContin – those same individuals that

McKinsey urged Purdue to target for ever more prescriptions – had prescribed Purdue’s OxyContin before

the 2007 guilty plea, and had already been subjected to Purdue’s misrepresentations regarding OxyContin

that were the subject of that guilty plea.

       111.     McKinsey identified these physicians – those that had already been influenced by Purdue’s

misrepresentations and were thus already high prescribers – as optimal targets for a massive marketing push

to sell more OxyContin.

       112.     McKinsey worked assiduously with Purdue over many years to continually refine this

approach, and required ever-more granular data for its analysis. More than three years after the initial

introduction of the physician segmentation initiative, McKinsey requested, and Purdue provided,

“prescriber-level milligram dosing data” so that they could further analyze the individual amounts of

OxyContin prescribed by individual physicians.

       113.     At the same time, it requested this “prescriber-level milligram dosing data” from Purdue,

McKinsey urged the Sacklers to strictly manage the target lists of each sales representative to assure that the

maximum amount of each sales representative’s time was spent with the most attractive customers.

       114.     On July 23, 2013, Purdue’s board of directors discussed concerns about “the decline in higher

strengths” of Purdue’s opioids as well as an observed decline in “tablets per Rx.” In order to assure that the

threat to OxyContin sales growth be addressed, McKinsey was assigned “to actively monitor the number

and size of opioid prescriptions written by individual doctors.”

       115.     In unveiling of Project Turbocharge to Purdue and the Sacklers, McKinsey stated that the

most prolific OxyContin prescribers wrote “25 times as many OxyContin scripts” as less prolific prescribers,

and urged Purdue and the Sacklers to “make a clear go-no go decision to ‘Turbocharge the Sales Engine’”

by devoting substantial capital toward McKinsey’s plan.

       116.     McKinsey also stated that increased numbers of visits by sales representatives to these

                                                      24
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 28 of 77




prolific prescribers would increase the number of opioid prescriptions that they would write.

        117.     By November 2013, McKinsey had obtained the physician-level data they had previously

requested, and continued to study ways to sell additional OxyContin prescriptions by refining and targeting

the sales pitch to them. The Purdue board of directors was kept apprised of McKinsey’s progress.

                        c. Titration – Selling Higher Doses of OxyContin

        118.     McKinsey understood that the higher the dosage strength for any individual OxyContin

prescription, the greater the profitability for Purdue. Of course, higher dosage strength, particularly for longer

periods of use, also contributes to opioid dependency, addiction, and abuse. Nonetheless, McKinsey advised

Purdue to focus on selling higher strength dosages of OxyContin.

        119.     Consistent with its granular growth analysis, as early as October 26, 2010 McKinsey advised

the Sacklers and the Purdue board of directors that Purdue should train its sales representatives to

“emphasiz[e] the broad range of doses,” which would have the intended effect of increasing the sales of the

highest (and most profitable) doses of OxyContin.

        120.     McKinsey’s work on increasing individual prescription dose strength continued throughout

the time period McKinsey worked with Purdue. The Sacklers were informed on July 23, 2013, that Purdue

had identified weakness in prescribing rates among the higher doses of OxyContin, and reassured the

Sacklers that “McKinsey would analyze the data down to the level of individual physicians” in order to

study ways to maximize the sales of the highest-dose OxyContin pills.

        121.     Purdue implemented McKinsey’s suggestions through adopting the marketing slogan to

“Individualize the Dose,” and by 2013 encouraged its sales representatives to “practice verbalizing the

titration message” when selling Purdue’s opioids to prescribers.




                                                       25
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 29 of 77




                        d. Covered Persons – Sales Quotas and Incentive Compensation

        122.     McKinsey urged the use of quotas and bonus payments to motivate the sales force to sell as

many OxyContin prescriptions as possible.

        123.     Notably, this behavior was contemplated by the 2007 Corporate Integrity Agreement, which

required Purdue to implement written policies regarding “compensation (including salaries and bonuses)

for [sales representatives] engaged in promoting and selling Purdue’s products that are designed to ensure

that financial incentives do not inappropriately motivate such individuals to engage in the improper

promotion or sales of Purdue’s products.” (emphasis added).

        124.     By 2010, Purdue had implemented a four-year plan, consistent with McKinsey’s strategy, to

dramatically increase the quota of required annual sales visits by Purdue sales representatives to prescribers.

The quota was 545,000 visits in 2010; 712,000 visits in 2011; 752,000 in 2012; and 744,000 visits in 2013.

        125.     On August 8, 2013, as part of their “Identifying Granular Growth Opportunities for

OxyContin” presentation, McKinsey urged the Sacklers to “establish a revenue growth goal (e.g., $150M

incremental stretch goal by July 2014) and set monthly progress reviews with CEO and Board.”

        126.     In its “Identifying Granular Growth Opportunities for OxyContin” presentation to the Purdue

board of directors in July 2013, McKinsey nonetheless urged Purdue, in addition to increasing the focus

of the sales force on the top prescribers, to also increase the overall quotas for sales visits for individual sales

representatives from 1,400 to 1,700 annually.

        127.     In 2013, McKinsey identified one way that Purdue could squeeze more productivity out of its

sales force: by slashing one third of the time devoted to that Purdue devoted to training its sales force (from

17.5 days per year to 11.5 days):




                                                        26
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 30 of 77




       128.     By eliminating one third of the amount of time sales representatives were required to be in

training, McKinsey projected that Purdue could squeeze an additional 5% of physical calls per day out of its

newly less-trained sales force.

       129.     Additionally, McKinsey advised Purdue on how to craft incentive compensation for the sales

representatives, who were Covered Persons pursuant to the Corporate Integrity Agreement. McKinsey knew

that, combined with the strictures of sales quotas and less training for the sales force, bonus/incentive

compensation to the sales representatives based on the number of

       130.     OxyContin prescriptions the representative produced could be a powerful driver of

incremental OxyContin sales.




                                                     27
                Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 31 of 77




                           e. Increasing the Overall Size of the Opioid Market: the Larger the Pie,
                              the Larger the Slice


         131.     Consistent with McKinsey’s mandate, Purdue incentivized its sales staff “to increase not just

sales of OxyContin but also generic versions of extended release oxycodone.” Typically, one would not

wish to encourage the sales of generic competitors that offer a similar product to your own. If, however, your

goal is to position a company so as to look like an attractive acquisition target, the growth of the overall opioid

market is just as important as one’s own market share: “Whereas pharma salespeople are usually

compensated based on their ability to grow sales of a particular medicine, part of the bonus for Purdue’s

staff was calculated in relation to the size of the overall market.”32

         132.     Notably, this notion that the size of a company’s market share is not as important as the size

of the overall market in which it competes is a core insight of McKinsey’s granular approach to identifying

corporate growth opportunities. Describing their authors’ conclusions in The Granularity of Growth,

McKinsey stated, “One of their most surprising conclusions is that increased market-share is seldom a driver

of growth. They contend, instead, that growth is driven by where a company chooses to compete: which

market segments it participates in … the key is to focus on granularity, to breakdown big-picture strategy

into its smallest relevant components.”33_bookmark48

         133.     In other words, “Purdue’s marketing force was indirectly supporting sales of millions of pills

marketed by rival companies.”34 “It’s the equivalent of asking a McDonald’s store manager to grow sales of

Burger King and KFC,” stated a government official with the HHS.35 McKinsey designed this plan.36


32
   See David Crow, How Purdue’s ‘one-two’ punch fuelled the market for opioids, FIN. TIMES (Sept. 9, 2018),
https://www.ft.com/content/8e64ec9c-b133-11e8-8d14-6f049d06439c.
33
   The granularity of growth, Book Excerpt, McKinsey & Co. (Mar. 1, 2008),
   https://www.mckinsey.com/business functions/strategy-and-corporate-finance/our-insights/the- granularity-of-growth.
34
   See David Crow, How Purdue’s ‘one-two’ punch fuelled the market for opioids, FIN. TIMES (Sept. 9, 2018),
https://www.ft.com/content/8e64ec9c-b133-11e8-8d14-6f049d06439c.
35
   Id.
36
   Worth noting is that this strategy of increasing overall opioid sales directly benefitted the Sacklers through their ownership of
Rhodes. Especially worth noting is that this strategy also benefitted McKinsey’s other opioid clients, such as Johnson and
Johnson. “They have a huge amount of inside information, which raises serious conflict issues at multiple levels,” stated a
former consultant, referring to McKinsey’s influential role as advisor to multiple participants in a given industry, such as opioid
                                                                28
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 32 of 77




    F. Transformation: Purdue Implements McKinsey’s Strategies
        134.      As early as September 11, 2009, McKinsey told Purdue that it could generate $200 million to

$400 million in additional annual sales of OxyContin by implementing McKinsey’s strategy based on the

opportunities its granular growth analysis had identified. McKinsey reiterated its assurances regarding the

hundreds of millions of dollars of additional OxyContin sales on January 20, 2010.

        135.      Purdue accepted and, with McKinsey’s ongoing assistance, implemented McKinsey’s

strategies for selling and marketing OxyContin.

        136.      For instance, in January 2010, Purdue was training its sales and marketing force on the new

sales tactics based on a “physician segmentation” initiative that McKinsey urged. The strategy developed

as a result of McKinsey’s granular analysis of OxyContin sales channels. The initiative sought to identify

the most prolific OxyContin prescribers and then devote significant resources towards convincing those

high prescribers to continue to prescribe even more OxyContin, in higher doses, for longer times, to ever

more patients.

           137.     On January 20, 2010, the Purdue board of directors was informed of the progress

  in implementing McKinsey’s “physician segmentation” initiative.

        138.      This collaboration would continue over the course of the relationship between Purdue and

McKinsey.

        139.      During the time that McKinsey was advising Purdue, Purdue deliberately minimized the

importance of the Corporate Integrity Agreement. In 2008, Carol Panara joined the Purdue sales force from

rival Novartis. She would stay with the company until 2013, during which time McKinsey was responsible



manufacturing. It “puts them in a kind of oligarchic position.” Michelle Celarier, The Story McKinsey Didn’t Want Written,
INSTITUTIONAL INV. (July 8, 2019), https://www.institutionalinvestor.com/article/b1g5zjdcr97k2y/The-Story-McKinsey-
Didn-t- Want-Written.
For example, in an August 15, 2013 presentation to Purdue management entitled “Identifying OxyContin Growth Opportunities,”
McKinsey noted that “McKinsey’s knowledge of the ways other pharma companies operate suggests Purdue should reassess the
roles of MSL and HECON Groups – and further drive the salesforce to be more responsive to formulary coverage changes.”
(emphasis added).

                                                            29
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 33 of 77




for increasing OxyContin sales at Purdue, and culminating with the implementation of McKinsey’s “Project

Turbocharge,” beginning September 2013.

        140.     Ms. Panara stated that the 2007 guilty plea was deliberately minimized by the company in

presentations to its sales staff: “They said, ‘we were sued, they accused us of mis- marketing, but that wasn’t

really the case. In order to settle it and get it behind us we paid a fine.’ You had the impression they were

portraying it as a bit of a witch hunt.”37 (Purdue and its executives paid $634.5 million in fines.)

        141.     Consistent with McKinsey’s mandate, McKinsey devised methods for sales staff to sell

OxyContin to doctors while at the same time maintaining technical compliance with the Corporate Integrity

Agreement: Ms. Panara stated that, though she was told she could not flatly claim that OxyContin was better

or safer than other opioids, “she was trained to talk about products in ways that implied that it was safer.” She

might tout OxyContin’s 12-hour formulation to a prescriber. “You could say that with a shorter-acting

medication that wears off after six hours, there was a greater chance the patient was going to jump their

dosing schedule and take an extra one a little earlier. We couldn’t say [it was safer], but I remember we

were told that doctors are smart people, they’re not stupid, they’ll understand, they can read between the

lines.”38

                 1. Project Turbocharge

        142.     In 2013, the year after the Corporate Integrity Agreement expired, McKinsey urged a number

of transformational sales and marketing tactics that would further boost OxyContin sales. McKinsey

described these tactics to the Purdue board of directors in a series of updates entitled “Identifying Granular

Growth Opportunities for OxyContin” in July and August of 2013.

        143.     McKinsey dubbed their overall sales and marketing strategy for Purdue “Project

Turbocharge,” and urged the Sackler family and the board of directors to adopt it.



37
   See David Crow, How Purdue’s ‘one-two’ punch fuelled the market for opioids, FIN. TIMES (Sept. 9, 2018),
https://www.ft.com/content/8e64ec9c-b133-11e8-8d14-6f049d06439c.
38
   Id.
                                                            30
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 34 of 77




        144.     The Sacklers were impressed with McKinsey’s work. On August 15, 2013, Richard Sackler

emailed Mortimer D.A. Sackler, “the discoveries of McKinsey are astonishing.”

        145.     Eight days later, on August 23, 2013, McKinsey partners met with the Sackler family – not

the Purdue board of directors – in order to pitch Project Turbocharge. Dr. Arnab Ghatak (“Ghatak”), one of

the McKinsey partners leading the Purdue account, recounted the meeting to fellow partner Elling in an

email exchange: “[T]he room was filled only with family, including the elder statesman Dr. Raymond

[Sackler] . . . We went through exhibit by exhibit for about 2 hrs . . . They were extremely supportive of the

findings and our recommendations . . . and wanted to strongly endorse getting going on our

recommendations.”

        146.     Elling, a co-leader of the Purdue account, remarked in the same email correspondence that

McKinsey’s “findings were crystal clear to” the Sacklers, and that the Sacklers “gave a ringing endorsement

of ‘moving forward fast.’”

        147.     As a result of the Sackler family endorsement of McKinsey’s proposals, the following month

Purdue implemented Project Turbocharge based on McKinsey’s recommendations. In adopting “Project

Turbocharge,” Purdue acknowledged the improper connotations of the name, and re-christened the initiative

the decidedly more anodyne “E2E: Evolve to Excellence.”39

        148.     Evolve to Excellence (“E2E”) was the theme of Purdue’s 2014 National Sales Meeting.

        149.     CEO Stewart also told sales staff that board member Paolo Costa was a “champion for our

moving forward with a comprehensive ‘turbocharge’ process,” referring to McKinsey’s plan.

        150.     After Purdue adopted McKinsey’s recommendations, McKinsey continued to work with

Purdue sales and marketing staff reporting to Gasdia during Purdue’s implementation of McKinsey’s

recommendations.


39
  Regarding the name change, CEO Stewart wrote to McKinsey partners Rosiello and Ghatak on August 15, 2013: “Paolo Costa
was especially engaged in the discussion and he (among others) will be a champion for our moving forward with a comprehensive
‘turbocharge’ process – though we do need to find a better and more permanently appropriate name.” (emphasis added).

                                                             31
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 35 of 77




       151.     In fact, the entire E2E initiative was overseen by McKinsey and some Purdue executives,

who together comprised the E2E Executive Oversight Team and Project Management Office.

       152.     At the same time, the Sacklers were kept informed of the implementation of McKinsey’s

OxyContin strategy. According to a September 13, 2013 board agenda, the board of directors discussed with

the Sacklers the ongoing implementation of McKinsey’s sales tactics.

       153.     McKinsey’s Project Turbocharge, now re-named Evolve to Excellence, called for a doubling

of Purdue’s sales budget. Under McKinsey’s prior tutelage, Purdue’s promotional spending had already

skyrocketed. McKinsey’s influence on Purdue’s operations after the 2007 guilty plea is stark:




       154.     At the time of McKinsey’s first known work for Purdue, Purdue spent approximately $5

million per quarter on sales and marketing. By the time McKinsey’s Project

       155.     Turbocharge had been implemented, total quarterly sales and marketing spending at Purdue

exceeded $45 million per quarter, an increase of 800%.




                                                    32
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 36 of 77




        156.     Project Turbocharge continued despite the arrival of a new CEO at Purdue. On January 17,

2014, new CEO Mark Timney received reports from McKinsey emphasizing that, in order to increase

profits, Purdue must again increase the number of sales visits to “high-value” prescribers, i.e., those that

prescribe the most OxyContin.40

        157.     McKinsey also urged, consistent with their granular approach, that sales representatives

devote two-thirds of their time to selling OxyContin and one-third of their time selling Butrans, another

Purdue product. Previously, the split had been fifty-fifty.

        158.     Purdue implemented McKinsey’s suggestion.

     G. McKinsey’s Efforts Triple OxyContin Sales.

        159.     Purdue got what it wanted out of McKinsey. Between the years of 2008 through 2016, Purdue

distributed in excess of $4 billion to the Sackler family, with $877 million distributed in 2010 alone.

        160.     These distributions would not have been possible without the McKinsey’s work dramatically

increasing OxyContin sales.

        161.     The Sacklers were aware of the value McKinsey provided: on December 2, 2013, CEO

Stewart informed Kathe Sackler and Vice President of Sales and Marketing Gasdia that Project Turbocharge

“was already increasing prescriptions and revenue.” Crucially, these results were already being realized

before the strategy was fully deployed as the theme of the 2014 National Sales Meeting.




40
   In fact, deposition testimony suggests McKinsey may have even been responsible for the fact that Timney was given the CEO
job at Purdue in the first place. On October 30, 2020, Timney provided the following testimony:
                      Q: Are you familiar with McKinsey & Company?
                      A: I decline to answer on the ground that I may not be compelled to be a witness
                      against myself in any proceeding.
                      Q: Did individuals at McKinsey assist you in getting hired as the CEO of Purdue?
                      A: I decline to answer on the ground that I may not be compelled to be a witness
                      against myself in any proceeding. (emphasis added).
                                                            33
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 37 of 77




        162.     McKinsey’s contributions to Purdue’s growth after 2007 are remarkable. OxyContin sales

should have naturally declined: the Department of Justice identified OxyContin sales that were illegitimate

because of Purdue’s conduct, and the Inspector General of HHS entered into a Corporate Integrity Agreement

whereby Purdue was monitored to assure that those sales did not continue.

        163.     In 2007, the year of Purdue’s guilty plea, net sales of OxyContin totaled approximately $1

billion.41

        164.     The guilty plea “did little to stem Purdue’s blistering growth rate.” In fact, by 2010, after

McKinsey was advising Purdue on how to maximize sales, OxyContin sales exceeded $3 billion: a tripling

of revenue from OxyContin sales.42

        165.     Under McKinsey’s guidance, OxyContin sales would reach their all-time peak in 2013, the

year McKinsey proposed, and Purdue adopted, Project Turbocharge.43 That OxyContin sales peaked in 2013

is especially notable, given that overall opioid prescriptions had already peaked three years earlier, in

2010.44 McKinsey’s efforts added a final boost to OxyContin sales before the eventual unraveling, and

Purdue’s decision, in the end, to cease marketing the drug.

        166.     By 2018, with OxyContin sales in their inexorable decline, Purdue announced that it would

cease sending sales representatives to healthcare providers to promote OxyContin. The ranks of sales

representatives were cut back to 200 people – the approximate size of Purdue’s sales staff prior to the initial

launch of OxyContin.




41
    See David Crow, How Purdue’s ‘one-two’ punch fuelled the market for opioids, FIN. TIMES (Sept. 9, 2018),
https://www.ft.com/content/8e64ec9c-b133-11e8-8d14-6f049d06439c.
42
   Id.
43
   Phil McCausland & Tracy Connor, OxyContin maker Purdue to stop promoting opioids in light of epidemic, NBC NEWS (Feb.
10, 2018), https://www.nbcnews.com/storyline/americas-heroin- epidemic/oxycontin-maker-purdue-stop-promoting-opioids-
light-epidemic-n846726.
44
    Gery P. Guy Jr, et al., Vital Signs: Changes in Opioid Prescribing Patterns in the United States, 2006-2015, MORB. MORTAL
WKLY. REP. (July 7, 2017), https://www.cdc.gov/mmwr/ volumes/66/wr/mm6626a4.htm.

                                                             34
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 38 of 77




        167.     In 2014, according to Purdue, there were 5.4 million OxyContin prescriptions written, 80%

for twelve-hour dosing. Of those prescriptions, more than half were for doses greater than 60 milligrams per

day.

     H. McKinsey Was Aware of the Devasting Effects of Opioids and Continued to Provide
        Marketing Advice.

        168.     McKinsey has long maintained a Pharmaceuticals and Medical Products (“PMP”) industry

practice group dedicated to working with pharmaceutical companies. In 2003, when McKinsey’s

relationship with Purdue began, the PMP group was led by Michael Pearson (“Pearson”). Pearson worked

for McKinsey for 23 years and was a member of the firm’s shareholder council (McKinsey’s equivalent of

a board of directors) in addition to leading PMP before departing McKinsey in 2008 to helm Valeant

Pharmaceuticals.45

        169.     Pearson stated, “At McKinsey pharmaceuticals was one of our biggest industry groups.”46

Pearson was “not the quintessential suave and intellectual McKinsey partner. He was loud and profane and

was seen, in the words of one former colleague, as ‘sharp-edged and sharp elbowed.’”47

        170.     Under his leadership, McKinsey’s knowledge and expertise in the pharmaceutical industry

was significant. By 2009, McKinsey described its capabilities: “We have an unparalleled depth of both

functional and industry expertise as well as breadth of geographical reach. Our scale, scope, and knowledge

allow us to address problems that no one else can. At heart, we are a network of people who are passionate

about taking on immense challenges that matter to leading organizations, and often, to the world.”




45
     John Gapper, McKinsey’s fingerprints are all over Valeant, FIN. TIMES (Mar. 23, 2016),
https://www.ft.com/content/0bb37fd2-ef63-11e5-aff5-19b4e253664a.
46
   Michael Peltz, Mike Pearson’s New Prescription for the Pharmaceuticals Industry, INSTITUTIONAL INV. (Sept. 3, 2014),
https://www.institutionalinvestor.com/article/b14zbjfm8nf1c4/mike-pearsons-new-prescription- for-the-pharmaceuticals-
industry.
47
   John Gapper, McKinsey’s fingerprints are all over Valeant, FIN. TIMES (Mar. 23, 2016),
https://www.ft.com/content/0bb37fd2-ef63-11e5-aff5-19b4e253664a.

                                                          35
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 39 of 77




        171.     McKinsey has a long history of consulting in the pharmaceutical industry. In addition to its

work with Purdue, McKinsey has performed “opioid-related work” for Johnson & Johnson, Endo

International, and Mallinckrodt Pharmaceuticals.

        172.     In 2012, while advising Purdue, McKinsey described its health care capabilities thusly:

“Indeed, there is a doctor in the house. We have more than 1,700 consultants with significant healthcare

experience, including more than 150 physicians and 250 consultants with advanced degrees in genetics,

immunology, biochemical engineering, neurobiology, and other life sciences. We also have 75 consultants

with advanced degrees in public health, healthcare management, and related fields.”

        173.     By the time McKinsey was working with Purdue on sales and marketing in 2009, it already

had extensive experience with opioids in particular. As early as 2002, McKinsey was advising other opioid

manufacturers regarding methods to boost sales of their drugs. For example, on March 14, 2002, McKinsey

prepared a confidential report for Johnson & Johnson regarding how to market their opioid Duragesic.

Incredibly, one of the recommendations McKinsey provided to Johnson & Johnson was that they concentrate

their sales and marketing efforts on doctors that were already prescribing large amounts of Purdue’s

OxyContin.48

        174.     As early as 2002 McKinsey had such intricate knowledge of the sales and marketing practices

of opioid manufacturers, generally, and Purdue’s efforts with OxyContin, specifically, that it was able to

recommend to a competitor of Purdue that it boost its own opioid sales by following in the footsteps of

Purdue.

        175.     What is more, on September 13, 2013 McKinsey briefed Purdue on the ongoing concerns

regarding OxyContin addiction and diversion among prescribers:




48
  Chris McGreal, Johnson & Johnson faces multibillion opioids lawsuit that could upend big pharma, THE GUARDIAN (June
23, 2019), https://www.theguardian.com/us-news/2019/ jun/22/johnson-and-johnson-opioids-crisis-lawsuit-latest-trial.

                                                         36
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 40 of 77




        176.     In a PowerPoint slide entitled “Findings on messaging and positioning,” part of a

presentation to Purdue entitled “OxyContin growth opportunities: Phase 1 Final Report: Diagnostic,”

McKinsey noted that “most prescribers are concerned about abuse,” and that “most physicians do not feel

that [OxyContin] reformulation positively impacts their prescribing behavior, and that diversion, abuse and

regulatory concerns continue to weigh on prescribers.”

        177.     Indeed, one reason that Purdue had knowledge that their own products were addictive and

dangerous is because McKinsey told them.

        178.     In February 2009, only months prior to McKinsey’s first known work for Purdue,49 Dr. Art

Van Zee, in his peer-reviewed article in the American Journal of Public Health entitled “The promotion and

Marketing of OxyContin: Commercial Triumph, Public Health Tragedy,” stated the matter plainly:

“Compared with noncontrolled drugs, controlled drugs, with their potential for abuse and diversion, pose


49
  In a 2013 presentation to Purdue’s CEO and Vice President of Sales and Marketing, McKinsey referenced McKinsey’s “prior
experiences serving Purdue that go back 10 years.” Presentation by McKinsey to John Stewart and Russell Gasdia entitled
Identifying granular growth opportunities for OxyContin: First Board Update, at 2 (July 18, 2013). While McKinsey’s
relationship with Purdue dates back to approximately 2003, the earliest known details of its work for Purdue date to June 2009.
What McKinsey did for Purdue before 2009 is not presently known.
                                                              37
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 41 of 77




different public health risks when they are overpromoted and highly prescribed.” (emphasis added). By 2004,

“OxyContin had become the most prevalent prescription opioid in the United States.”50

        179.     Further, Dr. Van Zee identified the precise tactics that McKinsey deployed for Purdue as a

source of OxyContin misuse and abuse, and suggested that regulation may be appropriate to curtail its use:

“The use of prescriber profiling data to target high-opioid prescribers – coupled with very lucrative

incentives for sales representatives – would seem to fuel increased prescribing by some physicians – perhaps

the most liberal prescribers of opioids and, in some cases, the least discriminate.”51

        180.     Of course, to argue that McKinsey had contemporaneous knowledge of the fact that increasing

OxyContin sales create even more addiction and misuse in some ways misses the point. It disregards the

context in which McKinsey was operating after 2009: advising a monoline manufacturer of opioids about

sales and marketing practices for its addictive products while that manufacturer is bound by a five-year

Corporate Integrity Agreement covering the very same opioid sales and marketing practices. In 2012,

OxyContin accounted for 94% of Purdue’s revenue.52 As late as 2018, it remained 84% of Purdue’s

revenue.53

        181.     McKinsey’s mandate was to increase Purdue’s opioid sales during a time when Purdue was

obligated to restrict its previous marketing strategies because those strategies had caused the

overprescribing of opioids and the inevitable consequences thereof. McKinsey’s job was to counter the

intended results of the Corporate Integrity Agreement; to devise strategies to sell as many pills as

conceivably possible. Under McKinsey’s tutelage, Purdue’s growth continued its upward trajectory

unabated, the Corporate Integrity Agreement notwithstanding.




50
   Art Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy, 99 AM. J. PUB.
HEALTH 221, 221, 224 (Feb. 2009),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2622774/pdf/221.pdf.
51
   Id.
52
   Gerald Posner, Pharma 524 (2020).
53
   Id.
                                                          38
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 42 of 77




        182.     If McKinsey was not aware of the adverse consequences of OxyContin, the drug it was paid

to sell, such ignorance could not survive the granular reality of its relationship with Purdue. In June 2009,

the earliest known work McKinsey performed for Purdue consisted of “countering the emotional messages

from mothers with teenagers that overdosed on OxyContin.”

        183.     Another indication that OxyContin sales should not be turbocharged: during McKinsey’s

work for Purdue, Purdue was unable to purchase product liability insurance to cover its practice of selling

OxyContin.

        184.     McKinsey’s method of aggressive marketing of opioids to prescribers has demonstrably

exacerbated the opioid crisis. A recent Journal of American Medical Association study analyzed the Centers

for Medicare and Medicaid Services’ Open Payments database regarding pharmaceutical company

marketing efforts towards doctors, as well as CDC data on prescription opioid overdose deaths and

prescribing rates, in order to assess whether pharmaceutical marketing of opioids to physicians affected the

rate of prescription opioid overdose deaths. Notably, the study analyzed these marketing practices beginning

August 1, 2013 and ending December 31, 2015.54

        185.     These dates are significant, as the study captures the same timeframe that McKinsey’s Project

Turbocharge was implemented at Purdue.

        186.     The study noted “physician prescribers are the most frequent source of prescription opioids

for individuals who use opioids nonmedically.”55




54
   Scott E. Hadland et al., Association of Pharmaceutical Industry Marketing of Opioid Products with Mortality from Opioid-
Related Overdoses, 2 JAMA NETWORK 1 (Jan. 18, 2019),
https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2720914.
55
   Id.
                                                             39
                  Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 43 of 77




           187.     The study found that “increased county-level opioid marketing was associated with elevated

overdose mortality 1 year later, an association mediated by opioid prescribing rates; per capita, the number

of marketing interactions with physicians demonstrated a stronger association with mortality than the

dollar value of marketing.”56 (emphasis added).

       I. McKinsey Continued Consulting to Increase the Sale of Opioids Despite the Nationwide
          Epidemic.

           188.     Marvin Bower (“Bower”), a founding father of McKinsey and managing director of the firm

from 1950 to 1967, instilled an ethos at McKinsey that has been reinforced throughout the decades as a core

value of the firm: “Deliver bad news if you must, but deliver it properly.”57

           189.     McKinsey’s work with Purdue, which began just after his death in 2003, would have been

unrecognizable to Bower, one of the founders of modern management consulting. Instead of acknowledging

the elephant in the room – that Purdue’s business was knowingly maximizing the amount of addictive and

deadly opioids sold in the United States – and delivering that bad news properly to the client, McKinsey

instead committed to partner with Purdue to maximize opioid sales, the torpedoes be damned.

           190.     On October 23, 2017, the president of the United States declared the ongoing nationwide

opioid epidemic a “public health emergency.” Even at this late hour in the crisis, McKinsey continued

to propose solutions to the Sacklers and Purdue to further boost opioid sales. These solutions were fashioned,

in perfect McKinsey parlance, as “high impact interventions to rapidly address market access challenges.”

           191.     Less than two months after the public health emergency declaration, McKinsey proposed

these high impact interventions to Purdue and its board of directors. Among them was perhaps McKinsey’s

most audacious gambit of the entire Purdue relationship: paying money – “rebates” – to health insurers

whenever someone overdosed on Purdue’s drug.




56
     Id.
57
     McDonald, The Firm, at 35.

                                                        40
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 44 of 77




        192.     Once again, in perfect McKinsey parlance,58 these payments for future OxyContin overdoses

were christened “Event-Based contracts.” To wit:




        193.     Helpfully, McKinsey provided estimates for the future costs of these “events.”59 McKinsey

noted that, if Purdue were to start making overdose payments, it would “need to determine which payment

amount is optimal.”

        194.     A “meaningful” amount, according to McKinsey, would be somewhere between six and

fifteen thousand dollars for each person who overdoses or develops opioid-use disorder as a result of

Purdue’s drugs:




58
    “Consultant-ese,” when applied to work as grim as maximizing opioid sales in the face of a national disaster, led one former
McKinsey consultant to state: “This is the banality of evil, M.B.A. edition.” Walt Bogdanich & Michael Forsythe, McKinsey
Proposed Paying Pharmacy Companies Rebates for OxyContin Overdoses, N.Y. TIMES (Nov. 27, 2020),
https://www.nytimes.com/2020/11/27/business/mckinsey-purdue-oxycontin-opioids.html.
59 59
      McKinsey defined an “event” as “first occurrence for overdose or opioid use disorder.”
                                                              41
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 45 of 77




       195.     The money would be paid to health insurers for the increased costs of additional medical

services that resulted from the fact that Purdue’s medications caused opioid-use disorder and overdoses in

people whose health care costs were the payors’ obligation. The money McKinsey proposed Purdue pay out

in these circumstances would not go to the individuals afflicted, nor the estates of the dead.

       196.     It is little surprise, then, that McKinsey was concerned with its legal liability for this work.

Within months of recommending “event-based contracts” to Purdue, Elling raised this concern with Ghatak

and suggested corrective action: destroying evidence.




                                                       42
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 46 of 77




       197.     Elling’s prediction that things would “get tougher” for Purdue would prove prescient.

                1. Purdue Pleads Guilty Once Again

       198.     On October 20, 2020, Purdue – McKinsey’s co-conspirator – agreed with the United States

Department of Justice to plead guilty to improper marketing of OxyContin and other opioids again. This time

the plea agreement concerned conduct from 2010 to 2018.

       199.     Purdue agreed to plead guilty to a dual-object conspiracy to defraud the United States and to

violate the Food, Drug, and Cosmetic Act, 21 U.S.C. §§ 331, 353, among other charges, relating to its opioid

sales and marketing practices after the 2007 guilty plea.

       200.     The new plea agreement does not identify Purdue’s co-conspirators, and McKinsey is not

identified by name in the agreement. Instead, McKinsey is referred to as the “consulting company.”

       201.     Purdue’s new guilty plea concerns Covered Conduct (as defined in the plea agreement) that

directly implicates McKinsey in the conspiracy. It is the same conduct described in this Complaint.

       202.     Indeed, the plea agreement signed by McKinsey’s co-conspirator states bluntly: “Purdue, in

collaboration with [McKinsey], implemented many of [McKinsey’s] recommendations.” (emphasis added).


                                                     43
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 47 of 77




       203.     Further, Purdue admitted that E2E “was overseen by [McKinsey] and some of Purdue’s top

executives through the creation of the E2E Executive Oversight Team (“EOT”) and Project Management

Office (“PMO”).” (emphasis added).

                2. A Mea Culpa

       204.     On December 5, 2020, McKinsey issued a rare public statement regarding its work with a

specific client on its website. The client was Purdue, and the statement was issued is response to Purdue’s

second guilty plea and recent media reports regarding McKinsey’s work selling OxyContin after 2007:




       205.     As the statement indicates, McKinsey stopped doing opioid-specific work “anywhere in the

world.” Given that Purdue’s operations addressed only the United States, the global reach of McKinsey’s

regret is noteworthy.

       206.     In August of 2013, when the Sacklers adopted McKinsey’s “Project Turbocharge” for

Purdue, Tim Reiner (“Reiner”), a long-time McKinsey consultant, joined Mundipharma. Mundipharma is a

separate company – also owned by the Sacklers – that sells opioids internationally.


                                                    44
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 48 of 77




        207.     Reiner is currently the Sacklers’ “Chief Business Officer” at Mundipharma. As late as 2019,

Mundipharma has been asserting many of the same misleading claims about opioids that previously led to

criminal liability in the United States. 60

        208.     “It’s right out of the playbook of Big Tobacco. As the United States takes steps to limit sales

here, the company goes abroad,” stated former commissioner of the U.S. Food and Drug Administration,

David Kessler.

     J. The Impact of McKinsey’s and Purdue’s Conduct
        209.     The deceptive marketing strategies McKinsey developed and helped to implement worked,

as described above. Deceptive marketing, including marketing McKinsey worked to develop and

implement, substantially contributed to an explosion in the use of opioids across the country, including in

this State and in Plaintiff’ Communities.

        210.     The opioid epidemic has escalated with devastating effects. McKinsey and Purdue’s actions

related to opioids has caused substantial opiate-related substance abuse, hospitalization, and death.


        211.     As a result of the impacts described above, and others, each of the Plaintiff have incurred

substantial expense to address the opioid epidemic that McKinsey’s misconduct was a substantial factor in

creating.

        212.     These impacts include, inter alia:

            a. Costs for treating Opioid Use Disorder (OUD), co-occurring Substance Use Disorder or
               Mental Health conditions (SUD/MH) and patients suffering from overdoses. This includes
               healthcare and medical care, Medication-Assisted Treatment and other withdrawal
               management services as well as counseling, psychiatric and other mental health care support,
               case management, and other therapeutic treatment and recovery support services;

            b. Costs associated with providing additional services to individuals with OUD and related
               SUD/MH conditions, including housing, transportation, education, job placement, job
               training and/or child care;

60
   See Erika Kinetz, Fake doctors, pilfered medical records drive OxyChina sales, ASSOC. PRESS (Nov. 19, 2019),
https://apnews.com/article/4122af46fdba42119ae3db30aa13537c.

                                                           45
Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 49 of 77




c. Costs for other social services to victims of the opioid epidemic and their families;

d. Costs related to screening for OUD and other risk factors and programs to reduce the
   transition from use to disorders;

e. Costs associated with addressing the needs of persons with OUD and any co- occurring
   SUD/MH conditions who are involved in, are at risk of becoming involved in, or are
   transitioning out of the criminal justice system, and links to treatment and related services.

f. Costs for providing treatment, recovery support, harm reduction and other services to
   individuals with OUD and related SUD/MH conditions who are incarcerated.

g. Other costs associated with opioid-related crime.

h. Costs associated with addressing the needs, including treatment, recovery services and
   prevention for pregnant or parenting women with OUD and any co-occurring SUD/MH
   conditions, the needs of their families, including treating babies with neonatal abstinence
   syndrome (NAS);

i. Costs related to with providing treatment of infants born with NAS or other opioid- related
   medical conditions, or born dependent on opioids due to drug use by their mothers during
   pregnancy, including educating and supporting families affected by NAS and long-term
   monitoring and care for these children;

j. Costs associated with providing care for children whose parents suffer from opioid- related
   disability or incapacitation, including supportive housing and other residential services
   relating to children being removed from the home and/or placed in foster care due to custodial
   opioid use;

k. Costs related to efforts to prevent over-prescribing and ensure appropriate prescribing and
   dispensing through education and training;

l. Costs associated with efforts to discourage or prevent misuse of opioids including through
   public education campaigns and other prevention initiatives;

m. Costs of training first responders in the proper treatment of drug overdoses; including costs
   associated with providing first responders with naloxone—an opioid antagonist used to block
   the deadly effects of opioids in the context of overdose, and other costs associated with
   emergency responses by first responders to opioid overdoses;

n. Costs for drug disposal and take back programs and programs to provide naloxone and/or
   other drugs that treat overdoses to overdose patients, individuals with OUD and their friends,
   family members and others in the community who may come into contact with individuals
   who are overdosing.




                                          46
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 50 of 77




 V.   FACTUAL ALLEGATIONS PERTAINING TO CLAIMS UNDER THE RACKETEER-
INFLUENCED AND CORRUPT ORGANIZATIONS (RICO) ACT: THE OPIOID MARKETING
                             ENTERPRISE

   A. The Common Purpose and Scheme of the Opioid Marketing Enterprise
       213.     Knowing that these products were highly addictive, ineffective and unsafe for the treatment

of long-term chronic pain, non-acute and non-cancer pain, McKinsey, which participated in the marketing

and sale of opioids as described in this complaint, and manufacturers of opioids, including Purdue, Johnson

& Johnson, Cephalon, Janssen, Endo, and Mallinckrodt (collectively, including McKinsey, the “Opioid

Marketing Enterprise Members”) formed an association-in-fact enterprise and engaged in a scheme to

unlawfully increase their profits and sales, and grow their share of the prescription painkiller market, through

repeated and systematic misrepresentations about the safety and efficacy of opioids for treating long-term

chronic pain.

       214.     In order to unlawfully increase the demand for opioids, the Opioid Marketing Enterprise

Members formed an association-in-fact enterprise (the “Opioid Marketing Enterprise”). Through their

personal relationships, the members of the Opioid Marketing Enterprise had the opportunity to form and

take actions in furtherance of the Opioid Marketing Enterprise’s common purpose. The Opioid Marketing

Enterprise Members’ substantial financial contribution to the Opioid Marketing Enterprise, and the

advancement of opioids-friendly messaging, fueled the U.S. opioids epidemic.

       215.     The Opioid Marketing Enterprise Members, through the Opioid Marketing Enterprise,

concealed the true risks and dangers of opioids from the medical community and the public, including

Plaintiff, and made misleading statements and misrepresentations about opioids that downplayed the risk of

addiction and exaggerated the benefits of opioid use. The misleading statements included: (1) that addiction

is rare among patients taking opioids for pain; (2) that addiction risk can be effectively managed; (3) that

symptoms of addiction exhibited by opioid patients are actually symptoms of an invented condition the

Opioid Marketing Enterprise Members named “pseudoaddiction”; (4) that withdrawal is easily managed; (5)

                                                      47
                Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 51 of 77




that increased dosing presents no significant risks; (6) that long-term use of opioids improves function; (7)

that the risks of alternative forms of pain treatment are greater than the adverse effects of opioids; (8) that

use of time-released dosing prevents addiction; (9) that abuse-deterrent formulations provide a solution to

opioid abuse; and (10) that opioids would bring patients freedom and peace of mind.

         216.     The scheme devised, implemented and conducted by the Opioid Marketing Enterprise

Members was a common course of conduct designed to ensure that the Opioid Marketing Enterprise

Members unlawfully increased their sales and profits through concealment and misrepresentations about

the addictive nature and effective use of the Opioid Marketing Enterprise Members’ drugs. The Opioid

Marketing Enterprise Members acted together for a common purpose and perpetuated the Opioid Marketing

Enterprise’s scheme, including through the unbranded promotion and marketing network as described

above.

         217.     There was regular communication between the Opioid Marketing Enterprise Members in

which information was shared, misrepresentations were coordinated, and payments were exchanged. The

Opioid Marketing Enterprise Members functioned as a continuing unit for the purpose of implementing the

Opioid Marketing Enterprise’s scheme and common purpose, and each agreed and took actions to hide the

scheme and continue its existence.

         218.     As public scrutiny and media coverage focused on how opioids ravaged communities

throughout the United States, McKinsey did not challenge Purdue or other manufacturers’

misrepresentations, seek to correct their previous misrepresentations, terminate their role in the Opioid

Marketing Enterprise, nor disclose publicly that the risks of using opioids for chronic pain outweighed their

benefits and were not supported by medically acceptable evidence. Instead, McKinsey continued to

participate in the Opioid Marketing Enterprise for financial gain.

         219.     The Opioid Marketing Enterprise Members engaged in certain discrete categories of

activities in furtherance of the common purpose of the Opioid Marketing Enterprise. The Opioid Marketing

                                                      48
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 52 of 77




Enterprise’s conduct in furtherance of the common purpose of the Opioid Marketing Enterprise involved

misrepresentations regarding the risk of addiction and safe use of prescription opioids for long-term chronic

pain.

        220.     The impact of the Opioid Marketing Enterprise’s scheme is still in place—i.e., the opioids

continue to be prescribed and used for chronic pain throughout the area of Plaintiff, and the epidemic

continues to injure Plaintiff, and consume Plaintiff’ resources.

        221.     As a result, it is clear that the Opioid Marketing Enterprise Members, including McKinsey,

were each willing participants in the Opioid Marketing Enterprise, had a common purpose and interest in

the object of the scheme, and functioned within a structure designed to effectuate the Enterprise’s purpose.

   B. The Conduct of the Opioid Marketing Enterprise Violated Civil RICO
        222.     From at least 2004 to the present, each of the Opioid Marketing Enterprise Members exerted

control over the Opioid Marketing Enterprise and participated in the operation or management of the affairs

of the Opioid Marketing Enterprise, directly or indirectly, in the following ways:

                 a.     Creating and providing a body of deceptive, misleading and unsupported medical and

          popular literature about opioids that (i) understated the risks and overstated the benefits of long-

          term use; (ii) appeared to be the result of independent, objective research; and (iii) was thus more

          likely to be relied upon by physicians, patients, and payors;

                 b.     Creating and providing a body of deceptive, misleading and unsupported electronic

          and print advertisements about opioids that (i) understated the risks and overstated the benefits of

          long-term use; (ii) appeared to be the result of independent, objective research; and (iii) was thus

          more likely to be relied upon by physicians, patients, and payors;

                 c.     Creating and providing a body of deceptive, misleading and unsupported sales and

         promotional training materials about opioids that (i) understated the risks and overstated the

         benefits of long-term use; (ii) appeared to be the result of independent, objective research; and (iii)

                                                      49
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 53 of 77




         was thus more likely to be relied upon by physicians, patients, and payors;

                d.     Devised and implemented marketing schemes that included targeting and misleading

         physicians, unlawfully incentivizing sales representatives to maximize prescriptions and dosages,

         and evading regulatory constraints.

                e.     Disseminating many of their false, misleading, imbalanced, and unsupported

         statements through unbranded materials that appeared to be independent publications; and

                f.     Using front groups and key opinion leaders ("KOLs") to mislead the public about

         opioids.

       223.     The scheme devised and implemented by the Opioid Marketing Enterprise Members

amounted to a common course of conduct intended to increase the Opioid Marketing Enterprise Members’

sales from prescription opioids by encouraging the prescribing and use of opioids for long-term chronic

pain. The scheme was a continuing course of conduct, and many aspects of it continue through to the present.

   C. Pattern of Racketeering Activity
       224.     The Opioid Marketing Enterprise Members’ scheme described herein was perpetrated, in

part, through multiple acts of mail fraud and wire fraud, constituting a pattern of racketeering activity as

described herein.

       225.     The pattern of racketeering activity used by the Opioid Marketing Enterprise Members and

the Opioid Marketing Enterprise likely involved thousands of separate instances of the use of the U.S. Mail

or interstate wire facilities in furtherance of the unlawful Opioid Marketing Enterprise, including essentially

uniform misrepresentations, concealments and material omissions regarding the beneficial uses and non-

addictive qualities for the long-term treatment of chronic, non-acute and non-cancer pain, with the goal

of profiting from increased sales of the Opioid

       226.     Marketing Enterprise Members’ drugs induced by consumers, prescribers, regulators and

Plaintiff’ reliance on the Opioid Marketing Enterprise Members’ misrepresentations.

                                                      50
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 54 of 77




       227.       Each of these fraudulent mailings and interstate wire transmissions constitutes racketeering

activity and collectively, these violations constitute a pattern of racketeering activity, through which the

Opioid Marketing Enterprise Members defrauded and intended to defraud Plaintiff, and other intended

victims.

       228.       The Opioid Marketing Enterprise Members devised and knowingly carried out an illegal

scheme and artifice to defraud by means of materially false or fraudulent pretenses, representations,

promises, or omissions of material facts regarding the safe, non-addictive and effective use of opioids for

long-term chronic, non-acute and non-cancer pain. The Opioid Marketing Enterprise Members and members

of the Opioid Marketing Enterprise knew that these representations violated the FDA approved use these

drugs, and were not supported by actual evidence. The Opioid Marketing Enterprise Members intended that

their common purpose and scheme to defraud would, and did, use the U.S. Mail and interstate wire facilities,

intentionally and knowingly with the specific intent to advance, and for the purpose of executing, their

illegal scheme.

       229.       By intentionally concealing the material risks and affirmatively misrepresenting the benefits

of using opioids for chronic pain, to prescribers, regulators and the public, including Plaintiff, the Opioid

Marketing Enterprise Members engaged in a fraudulent and unlawful course of conduct constituting a pattern

of racketeering activity.

       230.       The Opioid Marketing Enterprise Members’ use of the U.S. Mail and interstate wire facilities

to perpetrate the opioids marketing scheme involved thousands of communications, publications,

representations, statements, electronic transmissions, payments, including, inter alia:

                  a.     Marketing materials about opioids, and their risks and benefits, which the Opioid

       Marketing Enterprise Members sent to health care providers, transmitted through the internet and

       television, published, and transmitted to front groups and KOLs located across the country, including

       in Plaintiff’ Communities;

                                                       51
    Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 55 of 77




       b.      Written representations and telephone calls among the Opioid Marketing Enterprise

Members, and between the Opioid Marketing Enterprise Members and front groups, regarding the

misrepresentations, marketing statements and claims about opioids, including the non-addictive, safe

use of chronic long-term pain generally;

       c.      Written representations and telephone calls among the Opioid Marketing Enterprise

Members, and between the Opioid Marketing Enterprise Members and KOLs regarding the

misrepresentations, marketing statements and claims about opioids, including the non-addictive, safe

use of chronic long-term pain generally;

       d.      E-mails, telephone and written communications among the Opioid Marketing

Enterprise Members, and between the Opioid Marketing Enterprise Members and the front groups

agreeing to or implementing the opioids marketing scheme;

       e.      E-mails, telephone and written communications among the Opioid Marketing

Enterprise Members, and between the Opioid Marketing Enterprise Members and the KOLs agreeing

to or implementing the opioids marketing scheme;

       f.      Communications among the Opioid Marketing Enterprise Members, and between the

Opioid Marketing Enterprise Members, front groups and the media regarding publication, drafting

of treatment guidelines, and the dissemination of the same as part of the Opioid Marketing

Enterprise;

       g.      Communications among the Opioid Marketing Enterprise Members, and between the

Opioid Marketing Enterprise Members, KOLs and the media regarding publication, drafting of

treatment guidelines, and the dissemination of the same as part of the Opioid Marketing Enterprise;

       h.      Written and oral communications directed to Plaintiff and/or Plaintiff’ Communities

that fraudulently misrepresented the risks and benefits of using opioids for chronic pain; and




                                             52
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 56 of 77




                i.      Receipts of increased profits sent through the U.S. Mail and interstate wire

       facilities—the wrongful proceeds of the scheme.

       231.     In addition to the above-referenced predicate acts, it was intended by and foreseeable to the

Opioid Marketing Enterprise Members that the front groups and the KOLs would distribute publications

through the U.S. Mail and by interstate wire facilities, and, in those publications, claim that the benefits of

using opioids for chronic pain outweighed the risks of doing so.

       232.     To achieve the common goal and purpose of the Opioid Marketing Enterprise, the Opioid

Marketing Enterprise Members and members of the Opioid Marketing Enterprise hid from the consumers,

prescribers, regulators and the Plaintiff: (a) the fraudulent nature of the Opioid Marketing Enterprise

Members’ marketing scheme; (b) the fraudulent nature of statements made by the Opioid Marketing

Enterprise Members and by their KOLs, front groups and other third parties regarding the safety and efficacy

of prescription opioids; and (c) the true nature of the relationship between the members of the Opioid

Marketing Enterprise.

       233.     The Opioid Marketing Enterprise Members, and each member of the Opioid Marketing

Enterprise agreed, with knowledge and intent, to the overall objective of the Opioid Marketing Enterprise

Members’ fraudulent scheme and participated in the common course of conduct to commit acts of fraud and

indecency in marketing prescription opioids.

       234.     Indeed, for the Opioid Marketing Enterprise Members’ fraudulent scheme to work, each of

them had to agree to implement similar tactics regarding fraudulent marketing of prescription opioids. This

conclusion is supported by the fact that opioid manufacturers among the Opioid Marketing Enterprise

Members financed, supported, and worked through the same KOLs and front groups, and often collaborated

on and mutually supported the same publications, CMEs, presentations, and prescription guidelines.




                                                      53
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 57 of 77




       235.     The Opioid Marketing Enterprise Members’ predicate acts all had the purpose of creating

the opioid epidemic that substantially injured Plaintiff’ business and property, while simultaneously

generating billion-dollar revenue and profits for the Opioid Marketing Enterprise Members. The predicate

acts were committed or caused to be committed by the Opioid Marketing Enterprise Members through their

participation in the Opioid Marketing Enterprise and in furtherance of its fraudulent scheme.

                         VI.     TOLLING OF STATUTES OF LIMITATIONS

   A. Equitable Estoppel and Fraudulent Concealment

       236.     McKinsey is equitably estopped from relying upon a statute of limitations defense because,

alongside Purdue, McKinsey undertook active efforts to deceive Plaintiff and to purposefully conceal their

unlawful conduct and fraudulently assure the public and Plaintiff that Purdue was undertaking efforts to

comply with its obligations under the state and federal controlled substances laws, all with the goal of

protecting its registered manufacturer or distributor status in the State and to continue generating profits for

Purdue and McKinsey. Notwithstanding the allegations set forth above, McKinsey and Purdue affirmatively

assured the public and Plaintiff that they were working to curb the opioid epidemic.

       237.     McKinsey and Purdue were deliberate in taking steps to conceal their conspiratorial behavior

and active role in the deceptive marketing and the oversupply of opioids through overprescribing and

suspicious sales, all of which fueled the opioid epidemic.

       238.     McKinsey’s consulting services were given confidentially, and both McKinsey and Purdue

concealed the content of those services from the public.

       239.     McKinsey and Purdue also concealed from Plaintiff the existence of Plaintiff’ claims by

hiding their lack of cooperation with law enforcement and affirmatively seeking to convince the public that

Purdue’s legal duties to stop its deceptive marketing and report suspicious sales had been satisfied through

public assurances that they were working to curb the opioid epidemic. They publicly portrayed themselves

as committed to working diligently with law enforcement and others to prevent diversion of these dangerous


                                                      54
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 58 of 77




drugs and curb the opioid epidemic, and they made broad promises to change their ways insisting they were

good corporate citizens. These repeated misrepresentations misled regulators, prescribers and the public,

including Plaintiff, and deprived Plaintiff of actual or implied knowledge of facts sufficient to put Plaintiff on

notice of potential claims.

        240.     Plaintiff did not discover the nature, scope and magnitude of McKinsey's misconduct, and

its full impact on Plaintiff, and could not have acquired such knowledge earlier through the exercise of

reasonable diligence.

        241.     Purdue and McKinsey’s campaign to misrepresent and conceal the truth about the opioid

drugs that they were aggressively pushing on Plaintiff deceived the medical community, consumers, and

Plaintiff.

        242.     Further, Purdue and other opioid manufacturers also concealed and prevented discovery of

information, including data from the ARCOS database.

        243.     McKinsey intended that their actions and omissions made with Purdue would be relied upon,

including by Plaintiff. Plaintiff did not know and did not have the means to know the truth, due to McKinsey

and Purdue’s actions and omissions.

        244.     Plaintiff reasonably relied on McKinsey and Purdue’s affirmative statements regarding their

purported compliance with their obligations under the law and consent orders.

    B. McKinsey and Purdue Persisted in The Fraudulent Scheme Despite a Guilty Plea and Large
       Fine

        245.     In May 2007, Purdue and three of its executives pled guilty to federal charges of misbranding

OxyContin in what the company acknowledged was an attempt to mislead doctors about the risk of

addiction. Purdue was ordered to pay $600 million in fines and fees. In its plea, Purdue admitted that its

promotion of OxyContin was misleading and inaccurate, misrepresented the risk of addiction and was

unsupported by science. Additionally, Michael Friedman, the company’s president, pled guilty to a

misbranding charge and agreed to pay $19 million in fines; Howard R. Udell, Purdue’s top lawyer, also pled
                                                       55
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 59 of 77




guilty and agreed to pay $8 million in fines; and Paul D. Goldenheim, its former medical director, pled guilty

as well and agreed to pay $7.5 million in fines.

       246.     Nevertheless, even after the settlement, Purdue continued to pay doctors on speakers’

bureaus to promote the liberal prescribing of OxyContin for chronic pain and fund seemingly neutral

organizations to disseminate the message that opioids were non-addictive as well as other

misrepresentations. At least until early 2018, Purdue continued to deceptively market the benefits of opioids

for chronic pain while diminishing the associated dangers of addiction. After Purdue made its guilty plea in

2007, it assembled an army of lobbyists to fight any legislative actions that might encroach on its business.

Between 2006 and 2015, Purdue and other painkiller producers, along with their associated nonprofits,

spent nearly $900 million dollars on lobbying and political contributions— eight times what the gun lobby

spent during that period. McKinsey participated extensively in these actions and provided Purdue with

strategies and assistance to maximize sales as described in this complaint.

       247.     As all of the government actions against the Purdue and McKinsey demonstrate, McKinsey

knew that the actions it took with Purdue were unlawful, and yet deliberately proceeded in order to increase

Purdue’s sales and profits, and in turn to serve McKinsey’s financial interests.

       248.     In addition, McKinsey’s consulting services were given confidentially, and the content of

those services was not public. Plaintiff did not have knowledge of the scope, magnitude, and unlawful nature

of McKinsey’s conduct until 2020, when documents produced in the Purdue bankruptcy proceedings

revealed details regarding McKinsey’s role in advising Purdue and working with Purdue to implement the

unlawful conduct detailed in this complaint. Information in the public domain was insufficient to place

Plaintiff on notice of McKinsey’s unlawful conduct, prior to 2020. For these reasons, any statutes of

limitations applicable to Plaintiff’ claims did not begin to run and have been tolled until 2020.




                                                      56
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 60 of 77




       249.     In addition, McKinsey is estopped from relying on any statute of limitations defense because

its unlawful practices as alleged herein, which were continuing in nature, have created continuing and

repeated injuries to Plaintiff and Plaintiff’ Communities.

                                       VII.    CAUSES OF ACTION

                                     Count I
                 Racketeer Influenced and Corrupt Organizations
                        (RICO) 18 U.S.C. § 1961, et. seq.

       250.     Plaintiff incorporates by reference all preceding paragraphs of this complaint as if fully set

forth herein, and further allege as follows:

       251.     This claim is brought by Plaintiff against Defendant McKinsey for actual damages, treble

damages, and equitable relief under 18 U.S.C. § 1964, for violations of 18 U.S.C. § 1961, et seq.

       252.     At all relevant times, McKinsey is and has been a “person” under 18 U.S.C. § 1961(3)

because it is capable of holding, and does hold, “a legal or beneficial interest in property.”

       253.     Each Plaintiff is a “person,” as that term is defined in 18 U.S.C. § 1961(3) and has standing

to sue as it was and is injured in its business and/or property as a result of Defendant’s wrongful conduct

described herein.

       254.     The Opioid Marketing Enterprise conducted an association-in-fact enterprise, and/or

participated in the conduct of an enterprise through a pattern of illegal activities (the predicate racketeering

acts of mail and wire fraud) to carry-out the common purpose of the Opioid Marketing Enterprise, i.e., to

unlawfully increase profits and revenues from the continued prescription and use of opioids for long-term

chronic pain. Through the racketeering activities of the Opioid Marketing Enterprise, the Opioid Marketing

Enterprise Members sought to further the common purpose of the enterprise through a fraudulent scheme

to change prescriber habits and public perception about the safety and efficacy of opioid use. In so doing,

each of the Opioid Marketing Enterprise Members knowingly conducted and participated in the conduct of

the Opioid Marketing Activities by engaging in mail and wire fraud in violation of 18 U.S.C. §§ 1962(c)

                                                       57
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 61 of 77




and (d).

       255.     The Opioid Marketing Enterprise is an association-in-fact enterprise that consists of the

Opioid Marketing Enterprise Members.

       256.     Each of the Opioid Marketing Enterprise Members conducted and participated in the conduct

of the Opioid Marketing Enterprise by playing a distinct role in furthering the enterprise’s common

purpose of increasing profits and sales through the knowing and intentional dissemination of false and

misleading information about the safety and efficacy of long-term opioid use, and the risks and symptoms of

addiction, in order to increase the market for prescription opioids by changing prescriber habits and public

perceptions.

       257.     Specifically, the Opioid Marketing Enterprise Members each worked together to coordinate

the enterprise’s goals and conceal their role, and the enterprise’s existence, from the public by, among other

things, (i) funding, editing and distributing publications that supported and advanced their false messages;

(ii) funding KOLs to further promote their false messages; and (iii) tasking their own employees to direct

deceptive marketing materials and pitches directly at physicians.

       258.     Further, each of the Opioid Marketing Enterprise Members had systematic links to and

personal relationships with each other through joint participation in lobbying groups, trade industry

organizations, contractual relationships and continuing coordination of activities. The systematic links and

personal relationships that were formed and developed allowed members of the Opioid Marketing Enterprise

the opportunity to form the common purpose and agree to conduct and participate in the conduct of the Opioid

Marketing Enterprise. Specifically, each of the Opioid Marketing Enterprise Members, including McKinsey

working with and through the other Opioid Marketing Enterprise Members, coordinated their efforts through

the same KOLs and front groups, based on their agreement and understanding that the front groups and KOLs

were industry friendly and would work together with the Opioid Marketing Enterprise Members to advance

the common purpose of the Opioid Marketing Enterprise; and each of the individuals and entities who

                                                     58
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 62 of 77




formed the Opioid Marketing Enterprise acted to enable the common purpose and fraudulent scheme of the

Opioid Marketing Enterprise.

       259.     At all relevant times, the Opioid Marketing Enterprise: (a) had an existence separate and

distinct from each RICO Marketing Defendant and its members; (b) was separate and distinct from the

pattern of racketeering in which the Opioid Marketing Enterprise Members engaged; (c) was an ongoing

and continuing organization consisting of individuals, persons, and legal entities, including each of the

Opioid Marketing Enterprise Members; (d) was characterized by interpersonal relationships between and

among each member of the Opioid Marketing Enterprise; and (e) had sufficient longevity for the enterprise

to pursue its purpose and functioned as a continuing unit.

       260.     The Opioid Marketing Enterprise Members conducted and participated in the conduct of the

Opioid Marketing Enterprise through a pattern of racketeering activity that employed the use of mail and

wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud), to increase profits and

revenue by changing prescriber habits and public perceptions in order to increase the prescription and use

of prescription opioids and expand the market for opioids.

       261.     The Opioid Marketing Enterprise Members each committed, conspired to commit, and/or

aided and abetted in the commission of at least two predicate acts of racketeering activity (i.e. violations of

18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity that the

Opioid Marketing Enterprise Members committed, or aided and abetted in the commission of, were related

to each other, posed a threat of continued racketeering activity, and therefore constitute a “pattern of

racketeering activity.” The racketeering activity was made possible by the Opioid Marketing Enterprise

Members’ regular use of the facilities, services, distribution channels, and employees of the Opioid

Marketing Enterprise, the U.S. Mail and interstate wire facilities. The Opioid Marketing Enterprise

Members participated in the scheme to defraud by using mail, telephones and the Internet to transmit

mailings and wires in interstate or foreign commerce.

                                                      59
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 63 of 77




       262.     The Opioid Marketing Enterprise Members’ predicate acts of racketeering (18 U.S.C. §

1961(1)) include, but are not limited to:

                a.     Mail Fraud: The Opioid Marketing Enterprise Members violated 18 U.S.C. § 1341 by

       sending or receiving, or by causing to be sent and/or received, materials via U.S. mail or commercial

       interstate carriers for the purpose of executing the unlawful scheme to design, manufacture, market,

       and sell the prescription opioids by means of false pretenses, misrepresentations, promises, and

       omissions.

                b.     Wire Fraud: The Opioid Marketing Enterprise Members violated 18 U.S.C. § 1343 by

       transmitting and/or receiving, or by causing to be transmitted and/or received, materials by wire for

       the purpose of executing the unlawful scheme to design, manufacture, market, and sell the

       prescription opioids by means of false pretenses, misrepresentations, promises, and omissions.

       263.     Indeed, as summarized herein, the Opioid Marketing Enterprise Members used the mail and

wires to send or receive thousands of communications, publications, representations, statements, electronic

transmissions and payments to carry-out the Opioid Marketing Enterprise’s fraudulent scheme.

       264.     Because the Opioid Marketing Enterprise Members disguised their participation in the

enterprise, and worked to keep even the enterprise’s existence secret so as to give the false appearance that

their false messages reflected the views of independent third parties, many of the precise dates of the Opioid

Marketing Enterprise’s uses of the U.S. Mail and interstate wire facilities (and corresponding predicate acts

of mail and wire fraud) have been hidden and cannot be alleged without access to the books and records

maintained by the Opioid Marketing Enterprise Members, front groups, and KOLs. Indeed, an essential part

of the successful operation of the Opioid Marketing Enterprise alleged herein depended upon secrecy.

However, Plaintiff have described the occasions on which the Opioid Marketing Enterprise Members

disseminated misrepresentations and false statements to consumers, prescribers, regulators, and Plaintiff,

and how those acts were in furtherance of the scheme.

                                                     60
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 64 of 77




       265.     Each instance of racketeering activity alleged herein was related, had similar purposes,

involved the same or similar participants and methods of commission, and had similar results affecting

similar victims, including consumers, prescribers, regulators and Plaintiff. The Opioid Marketing Enterprise

Members calculated and intentionally crafted the scheme and common purpose of the Opioid Marketing

Enterprise to ensure their own profits remained high. In designing and implementing the scheme, the Opioid

Marketing Enterprise Members understood and intended that those in the distribution chain rely on the

integrity of the pharmaceutical companies and ostensibly neutral third parties to provide objective and

scientific evidence regarding the Opioid Marketing Enterprise Members’ products.

       266.     The Opioid Marketing Enterprise Members’ pattern of racketeering activity alleged herein

and the Opioid Marketing Enterprise are separate and distinct from each other. Likewise, the Opioid

Marketing Enterprise Members are distinct from the Opioid Marketing Enterprise.

       267.     The racketeering activities conducted by the Opioid Marketing Enterprise Members amounted

to a common course of conduct, with a similar pattern and purpose, intended to deceive consumers,

prescribers, regulators and the Plaintiff. Each separate use of the U.S. Mail and/or interstate wire facilities

employed by Defendant was related, had similar intended purposes, involved similar participants and

methods of execution, and had the same results affecting the same victims, including consumers,

prescribers, regulators and the Plaintiff. The Opioid Marketing Enterprise Members have engaged in the

pattern of racketeering activity for the purpose of conducting the ongoing business affairs of the Opioid

Marketing Enterprise.

       268.     Each of the Opioid Marketing Enterprise Members aided and abetted others in the violations

of the above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.




                                                      61
                 Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 65 of 77




          269.     As described herein, the Opioid Marketing Enterprise Members engaged in a pattern of

related and continuous predicate acts for years. The predicate acts constituted a variety of unlawful activities,

each conducted with the common purpose of obtaining significant money and revenue from the marketing

and sale of their highly addictive and dangerous drugs. The predicate acts also had the same or similar

results, participants, victims, and methods of commission. The predicate acts were related and not isolated

events.

          270.     The Opioid Marketing Enterprise Members’ violations of law and their pattern of

racketeering activity directly and proximately caused Plaintiff injury in their business and property. The

Opioid Marketing Enterprise Members’ pattern of racketeering activity logically, substantially and

foreseeably caused an opioid epidemic. Plaintiff’ injuries were not unexpected, unforeseen or independent.

Rather, as Plaintiff allege, the Opioid Marketing Enterprise Members knew that the opioids were unsuited

to treatment of long-term chronic, non-acute, and non-cancer pain, or for any other use not approved by the

FDA, and knew that opioids were highly addictive and subject to abuse. Nevertheless, the Opioid Marketing

Enterprise Members engaged in a scheme of deception that utilized the mail and wires in order to carry-out

the Opioid Marketing Enterprises’ fraudulent scheme, thereby increasing sales of their opioid products.

          271.     It was foreseeable and expected that the Opioid Marketing Enterprise Members creating and

then participating in the Opioid Marketing Enterprise through a pattern of racketeering activities to carry-

out their fraudulent scheme would lead to a nationwide opioid epidemic, including increased opioid

addiction and overdose.

          272.     Defendant’s misleading marketing and failure to prevent prescription opioid diversion

damaged Plaintiff and Plaintiff’ Communities. Defendant’s misconduct has contributed to a range of social

problems, including addiction, violence and delinquency. Adverse social outcomes include child neglect,

family dysfunction, babies born addicted to opioids, criminal behavior, poverty, property damage,

unemployment, and social despair. As a result, more and more of Plaintiff’ resources are devoted to

                                                       62
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 66 of 77




addiction-related problems.

       273.     Specifically, the Opioid Marketing Enterprise Members’ creation of, and then participation

in, the Opioid Marketing Enterprise through a pattern of racketeering activities to carry-out their fraudulent

scheme has injured Plaintiff in the form of substantial losses of money and property that logically, directly

and foreseeably arise from the opioid-addiction epidemic. Plaintiff’ injuries, as alleged in this complaint,

and expressly incorporated herein by reference, include, inter alia:

                a.     Costs for providing healthcare and medical care, additional therapeutic, and

       prescription drug purchases, and other treatments for patients suffering from opioid-related addiction

       or disease, including overdoses and deaths;

                b.     Costs of training first responders in the proper treatment of drug overdoses;

                c.     Costs associated with providing first responders with naloxone—an opioid antagonist

       used to block the deadly effects of opioids in the context of overdose;

                d.     Costs associated with emergency responses by first responders to opioid overdoses;

                e.     Costs for providing mental-health services, treatment, counseling, rehabilitation

       services, and social services to victims of the opioid epidemic and their families;

                f.     Costs for providing treatment of infants born with opioid-related medical conditions,

       or born dependent on opioids due to drug use by mother during pregnancy;

                g.     Costs associated with providing care for children whose parents suffer from opioid-

       related disability or incapacitation;

                h.     Costs associated with opioid-related crime.

       274.     Plaintiff’s injuries were directly and thus proximately caused by these racketeering activities

because they were the logical, substantial and foreseeable cause of Plaintiff injuries. But for the opioid-

addiction epidemic the Opioid Marketing Enterprise Members created through their Opioid Marketing

Enterprise, Plaintiff would need to spend resources on addressing the impacts of the opioid epidemic as

                                                      63
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 67 of 77




described herein.

       275.     Plaintiff is the most directly harmed entities and there are no other Plaintiff better suited to

seek a remedy for the economic harms at issue here.

       276.     Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia, actual

damages; treble damages; equitable and/or injunctive relief in the form of court-supervised corrective

communication, actions and programs; forfeiture as deemed proper by the Court; attorneys’ fees; all costs

and expenses of suit; and pre- and post-judgment interest, including, inter alia:

                a.     Actual damages and treble damages, including pre-suit and post-judgment interest;

                b.     An order enjoining any further violations of RICO;

                c.     An order enjoining any further violations of any statutes alleged to have been violated

       in this Complaint;

                d.     An order enjoining the commission of any tortious conduct, as alleged in this

       Complaint;

                e.     An order enjoining any future marketing or misrepresentations regarding the health

       benefits or risks of prescription opioids use, except as specifically approved by the FDA;

                f.     An order enjoining any future marketing of opioids through non-branded marketing

       including through front groups, KOLs, websites, or in any other manner alleged in this Complaint

       that deviates from the manner or method in which such marketing has been approved by the FDA;

                g.     An order enjoining any future marketing to vulnerable populations, including but not

       limited to, persons over the age of fifty-five, anyone under the age of twenty-one, and veterans;

                h.     An order requiring McKinsey to publicly disclose all documents, communications,

       records, data, information, research or studies related to its work with Purdue and other

       manufacturers of opioids;




                                                       64
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 68 of 77




                i.      An order divesting McKinsey of any interest in, and the proceeds of any work related

       to opioids;

                j.      Forfeiture as deemed appropriate by the Court; and

                k.      Attorneys’ fees and all costs and expenses of suit.

                                                  Count II
                                               Public Nuisance

       277.     Plaintiff incorporates by reference all preceding paragraphs of this complaint as if fully set

forth herein, and further allege as follows:

       278.     McKinsey, through its work with Purdue and other opioid industry participants, has created

and continues to perpetuate and maintain a public nuisance under statutory and/or the common law in

Plaintiff Communities through the massive marketing and distribution of millions of doses of highly

addictive, commonly abused prescription pain killers known as opioids.

       279.     The action is brought by Plaintiff to abate the public nuisance created by McKinsey through

its work with Purdue.

       280.     Section 821B of the Restatement (Second) Torts defines a “public nuisance” as “an

unreasonable interference with a right common to the general public.”

       281.     McKinsey has created and/or assisted in the creation of a condition that significantly

interferes with public health and public safety. McKinsey’s conduct has produced a permanent or long-

lasting effect, and McKinsey knows its conduct has a significant effect upon the public right.

       282.     McKinsey’s unlawful conduct, including its misrepresentations and omissions regarding

opioids, generally, and Purdue’s opioids, specifically, have fueled an opioid epidemic within Plaintiff

Communities that constitutes a public nuisance. McKinsey and Purdue knowingly exacerbated a condition

that affects entire municipalities, counties, towns, and communities.

       283.     The public nuisance is substantial and unreasonable. McKinsey’s actions caused and

continue to cause the public health epidemic described above and that harm outweighs any offsetting benefit.
                                                      65
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 69 of 77




       284.     McKinsey knew and should have known that Purdue’s and other opioid manufacturers’

promotion of opioids was false and misleading, and that its deceptive marketing scheme and other unlawful,

unfair, and fraudulent actions would create or assist in the creation of the public nuisance—the opioid

epidemic.

       285.     McKinsey’s actions were, at the very least, a substantial factor in opioids becoming widely

available and widely used. McKinsey’s actions were, at the very least, a substantial factor in deceiving

doctors and patients about the risks and benefits of opioids for the treatment of chronic pain. Without

McKinsey’s actions, opioid use, misuse, abuse, and addiction would not have become so widespread, and

the opioid epidemic that now exists would have been averted or much less severe.

       286.     McKinsey has breached its duties to Plaintiff by disseminating false and misleading

information through Purdue regarding the dangers of opioid use and by targeting physicians likely to

prescribe opioids for pain management despite the availability of other, less- or non-addictive pain killers.

       287.     Working through Purdue, McKinsey unlawfully provided false or misleading material

information about prescription opioids or unlawfully failed to use reasonable care or comply with statutory

requirements in the marketing and distribution of prescription opioids.

       288.     McKinsey’s acts and omissions created the opioid epidemic and thereby caused injury to the

health of members of Plaintiff Communities and interfered with the comfortable enjoyment of life and

property of others.

       289.     Plaintiff did not consent, expressly or impliedly, to the wrongful conduct of McKinsey.

       290.     McKinsey’s acts and omissions affect the entire communities of the Plaintiff.

       291.     McKinsey’s acts and omissions threatened and directly harmed the health and welfare of the

Plaintiff Communities.

       292.     But for McKinsey’s actions, opioid use—and, ultimately, misuse and abuse— would not be

as widespread as it is today, and the opioid epidemic that currently exists would have been averted.

                                                     66
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 70 of 77




       293.     McKinsey’s conduct, including its misrepresentations and omissions regarding opioids,

generally, and Purdue’s opioids, specifically, constitutes unlawful acts and/or omissions of duties, that

annoy, injure, or endanger the comfort, repose, health, and/or safety of others.

       294.     Logic, common sense, justice, policy and precedent indicate McKinsey’s conduct has caused

the damage and harm complained of herein. McKinsey knew or reasonably should have known that, in

devising and assisting Purdue with implementing a sales and marketing campaign, including Project

Turbocharge, that would dramatically increase the amount of OxyContin prescribed and distributed in the

State and in Plaintiff’ Communities, it would endanger the health and safety of residents of Plaintiff’

Communities. Thus, the public nuisance caused by McKinsey in Plaintiff’ Communities was reasonably

foreseeable, including the financial and economic losses incurred by Plaintiff.

       295.     As a direct and proximate result of McKinsey’s wrongful conduct as set forth herein,

McKinsey negligently, intentionally and/or unreasonably interfered with the rights of Plaintiff and its

Communities to be free from unwarranted injuries, addictions, diseases, sicknesses, overdoses, and criminal

actions, and have caused ongoing damage, harm and inconvenience to Plaintiff and its Communities, who

have been exposed to the risk of addiction to prescription drugs, who have become addicted, and/or have

suffered other adverse consequences from the use of addictive prescription drugs, and have been adversely

affected by the addiction and abuse of others in the communities from these highly additive prescription

pain medications.

       296.     McKinsey also has a duty to abate the public nuisance caused by the prescription opioid

epidemic.

       297.     The public nuisance created, perpetuated, and maintained by McKinsey can be abated and

further recurrence of such harm and inconvenience can be abated.

       298.     McKinsey has failed to abate the nuisance it created.

       299.     Plaintiff seeks an order providing for abatement of the public nuisance that McKinsey created

                                                     67
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 71 of 77




or assisted in the creation of, and enjoining McKinsey from future conduct creating a public nuisance.

       300.     Plaintiff seeks damages from McKinsey to pay for the costs to permanently eliminate the

hazards to public health and safety and abate the public nuisance.

       301.     As a direct result of McKinsey's conduct, Plaintiff and Plaintiff’ Communities have suffered

actual injury and economic damages including, but not limited to, significant expenses for police,

emergency, health, education and training, prosecution, child protection, corrections, judicial and other

services.

       302.     McKinsey is liable to Plaintiff for the costs borne by Plaintiff as a result of the opioid

epidemic and for the costs of abating the nuisance created by McKinsey.

                                                  Count III
                                               Civil Conspiracy

       303.     Plaintiff incorporates by reference all preceding paragraphs of this complaint as if fully set

forth herein, and further allege as follows:

       304.     McKinsey and Purdue, working together for decades, agreed to commit numerous unlawful

acts relating to the sales and marketing of Purdue’s opioid products. McKinsey and Purdue also agreed

to use unlawful means to commit lawful acts as part of these sales and marketing efforts.

       305.     Purdue, other manufacturers of opioids, and McKinsey engaged, and continue to engage, in

a massive marketing campaign to misstate and conceal the risks of treating long-term chronic, non-acute,

and non-cancer pain with opioids as described in this complaint. Their aggressive marketing campaign

enabled them to overcome the longstanding medical consensus that opioids were unsafe for the treatment

of chronic pain and resulted in a significant increase in the number of opioids prescribed nationwide, in the

State and in Plaintiff Communities.




                                                      68
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 72 of 77




        306.     Without Purdue, other manufacturers of opioids, and McKinsey's misrepresentations, which

created demand, they would not have been able to sell the increasing quantity of prescription opioids for

non-medical or inappropriate purposes.

        307.     None of the opioid manufacturers or McKinsey would have succeeded in profiting so much

from the opioid epidemic without the concerted conduct of the other parties.

        308.     Purdue, other manufacturers of opioids, and McKinsey agreed with each other to accomplish

the unlawful purposes of marketing, selling, and distributing prescription opioids through violations of law

and misrepresentations. Purdue, other manufacturers of opioids, and McKinsey performed numerous overt

acts in furtherance of this conspiracy, including marketing, selling, and distributing prescription opioids by

means of misrepresentations and omissions, violating Federal and state laws, and turning a blind eye to

diversion of prescription opioids.

        309.     McKinsey and Purdue deployed the unlawful means of evading Purdue’s reporting and

compliance obligations to the Inspector General of HHS for the five years Purdue was subject to a Corporate

Integrity Agreement after it pled guilty in 2007 to criminal misbranding. McKinsey assisted Purdue with

evading these compliance obligations to accomplish the lawful act of maximizing OxyContin revenue to

Purdue.

        310.     McKinsey, a majority of the Purdue board of directors, and Purdue agreed to deploy unlawful

sales and marketing tactics to achieve the lawful purpose of maximizing revenue of a closely-held company.

        311.     As a result of the concerted action between the Purdue, other manufacturers of opioids, and

McKinsey, Plaintiff and its Communities have suffered damages.

        312.     Purdue, other manufacturers of opioids, and McKinsey are jointly and severally liable for the

results of their concerted efforts.




                                                      69
                 Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 73 of 77




                                                    Count IV
                                                Unjust Enrichment

          313.     Plaintiff incorporates by reference all preceding paragraphs of this complaint as if fully set

forth herein, and further allege as follows:

          314.     As an expected and intended result of their conscious wrongdoing as set forth in this

Complaint, McKinsey has profited and benefited from the increase in the distribution and purchase of

opioids within Plaintiff Communities, including from opioids foreseeably and deliberately diverted within

and into Plaintiff Communities.

          315.     Plaintiff has expended substantial amounts of money to fix or mitigate the societal harms

caused by McKinsey’s conduct.

          316.     Plaintiff has conferred a benefit upon McKinsey by paying for what may becalled McKinsey’s

externalities—the costs of the harm caused by McKinsey’s negligent or otherwise unlawful marketing,

distribution and sales practices.

          317.     McKinsey is aware of this obvious benefit, and that retention of this benefit is

unjust.

          318.     Plaintiff has paid for the cost of McKinsey’s externalities and McKinsey has benefitted from

those payments because they allowed McKinsey, along with Purdue and other opioid manufacturers, to

continue providing customers with a high volume of opioid products. Because of their deceptive marketing

of prescription opioids, McKinsey obtained enrichment they would not otherwise have obtained. The

enrichment was without justification and Plaintiff lack a remedy provided by law.

          319.     McKinsey made substantial profits while fueling the prescription drug epidemic in Plaintiff

Communities.

          320.     McKinsey has been unjustly enriched by its negligent, intentional, malicious, oppressive,

illegal and/or unethical acts, omissions, and wrongdoing.

          321.     It would be inequitable to allow McKinsey to retain these benefits or financial advantages.
                                                         70
               Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 74 of 77




        322.     McKinsey’s misconduct alleged in this case has caused ongoing and persistent hardship to

Plaintiff.

        323.     Plaintiff demands judgment against McKinsey for restitution, disgorgement, and any other

relief allowed in law or equity.

                                       VIII. PRAYER FOR RELIEF

             WHEREFORE, Plaintiff pray that the Court:

        a.       Enter judgment against McKinsey and in favor of Plaintiff;

        b.       Award compensatory damages in an amount sufficient to compensate Plaintiff fairly and

completely for all damages, treble damages, pre-judgment and post- judgment interest as provided by law,

and that such interest be awarded at the highest legal rate;

        c.       Award damages caused by the opioid epidemic, including but not limited to (1) costs for

providing medical care and treatment, additional therapeutic and prescription drug purchases including costs

of obtaining naloxone and suboxone, as well as other treatments for patients suffering from opioid-related

addiction or disease, including overdoses and deaths; (2) costs for providing treatment of infants born with

opioid-related medical conditions, including NAS; (3) costs for providing care for children whose parents

suffer from opioid-related disability or incapacitation; (4) costs associated with social services, criminal

justice and rehabilitation relating to the opioid epidemic; and (5) costs for providing transitional housing for

those returning to the community;

        d.       Enter orders and procedures to abate the nuisance created by McKinsey’s wrongful conduct;

        e.       Enjoin McKinsey from continuing or repeating the wrongful conduct alleged herein and from

the publication and/or dissemination of false and misleading materials directly or indirectly;

        f.       Award Plaintiff their costs of suit, including reasonable attorneys’ fees as provided by law;




                                                       71
              Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 75 of 77




       g.        Award such further and additional relief as the Court may deem just and proper under the

circumstances; and

       h.        Grant Plaintiff the right to amend their pleadings to conform to the evidence produced at trial.

                                         IX.     JURY DEMAND

            Plaintiff requests a trial by jury on all issues so triable.


 RESPECTFULLY SUBMITTED:

   Dated: July 26, 2022


                                                           /s/ Leslie C. Nixon                  Bar No. 1880
                                                           Leslie C. Nixon
                                                          THE NIXON LAW FIRM, PLLC
                                                          77 Central Street
                                                          Manchester, NH 03101
                                                          Telephone: (603)669-7070
                                                          lnixon@davenixonlaw.com

                                                          Adam J. Levitt
                                                          DICELLO LEVITT GUTZLdER LLC
                                                          Ten North Dearborn Street
                                                          Sixth Floor
                                                          Chicago, Illinois 60602
                                                          Telephone: 312-214-7900
                                                          alevitt@dicellolevitt.com

                                                          Mark A. DiCello
                                                          Mark M. Abramowitz
                                                          DICELLO LEVITT GUTZLER LLC
                                                          7556 Mentor Avenue
                                                          Mentor, Ohio 44060
                                                          Telephone: 440-953-8888
                                                          madicello@dicellolevitt.com
                                                          mabramowitz@dicellolevitt.com

                                                          Bruce D. Bernstein
                                                          DICELLO LEVITT GUTZLER LLC
                                                          1101 17th Street NW
                                                          Suite 1000
                                                          Washington, DC 20036
                                                          Telephone: 202-975-2288
                                                          bbernstein@dicellolevitt.com

                                                           72
Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 76 of 77




                               Diandra Debrosse Zimmermann
                               DICELLO LEVITT GUTZLER LLC
                               420 20th Street North, Suite 2525
                               Birmingham, Alabama 35203
                               Telephone: 205-855-5700
                               fu@dicellolevitt.com

                              Attorneys for the City of Rochester, New Hampshire




                               73
Case 1:22-cv-00283-PB Document 1 Filed 07/28/22 Page 77 of 77




                               74
